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           EXHIBIT “A”
Electronically FILED by Superior Court of California, County of Los Angeles on 11/07/2022 07:46 PM Sherri R. Carter, Executive Officer/Clerk of Court, by G. Carini,Deputy Clerk
                  Case 2:22-cv-09468 Document 1-122STCV35388
                                                    Filed 12/30/22 Page 2 of 102 Page ID #:16
                                                                                                                                                                   SUM-100
                                                          SUMMONS                                                                           FOR COURT USE ONLY
                                                                                                                                        (SOLO PARA USO DE LA CORTE)
                                                 (CITACION JUDICIAL)

 NOTICE TO DEFENDANT:
 (AVISO AL DEMANDADO):
 MemorialCare Medical Group d/b/a MemorialCare


 YOU ARE BEING SUED BY PLAINTIFF:
 (LO ESTÁ DEMANDANDO EL DEMANDANTE):
 Laura Moore, on behalf of herself and all others similarly situated

  NOTICE! You have been sued. The court may decide against you without your being heard unless you respond within 30 days. Read the information
  below.
     You have 30 CALENDAR DAYS after this summons and legal papers are served on you to file a written response at this court and have a copy
  served on the plaintiff. A letter or phone call will not protect you. Your written response must be in proper legal form if you want the court to hear your
  case. There may be a court form that you can use for your response. You can find these court forms and more information at the California Courts
  Online Self-Help Center (www.courtinfo.ca.gov/selfhelp), your county law library, or the courthouse nearest you. If you cannot pay the filing fee, ask the
  court clerk for a fee waiver form. If you do not file your response on time, you may lose the case by default, and your wages, money, and property may
  be taken without further warning from the court.
     There are other legal requirements. You may want to call an attorney right away. If you do not know an attorney, you may want to call an attorney
  referral service. If you cannot afford an attorney, you may be eligible for free legal services from a nonprofit legal services program. You can locate
  these nonprofit groups at the California Legal Services Web site (www.lawhelpcalifornia.org), the California Courts Online Self-Help Center
  (www.courtinfo.ca.gov/selfhelp), or by contacting your local court or county bar association. NOTE: The court has a statutory lien for waived fees and
  costs on any settlement or arbitration award of $10,000 or more in a civil case. The court's lien must be paid before the court will dismiss the case.
  ¡AVISO! Lo han demandado. Si no responde dentro de 30 días, la corte puede decidir en su contra sin escuchar su versión. Lea la información a
  continuación.
     Tiene 30 DÍAS DE CALENDARIO después de que le entreguen esta citación y papeles legales para presentar una respuesta por escrito en esta
  corte y hacer que se entregue una copia al demandante. Una carta o una llamada telefónica no lo protegen. Su respuesta por escrito tiene que estar
  en formato legal correcto si desea que procesen su caso en la corte. Es posible que haya un formulario que usted pueda usar para su respuesta.
  Puede encontrar estos formularios de la corte y más información en el Centro de Ayuda de las Cortes de California (www.sucorte.ca.gov), en la
  biblioteca de leyes de su condado o en la corte que le quede más cerca. Si no puede pagar la cuota de presentación, pida al secretario de la corte que
  le dé un formulario de exención de pago de cuotas. Si no presenta su respuesta a tiempo, puede perder el caso por incumplimiento y la corte le podrá
  quitar su sueldo, dinero y bienes sin más advertencia.
     Hay otros requisitos legales. Es recomendable que llame a un abogado inmediatamente. Si no conoce a un abogado, puede llamar a un servicio de
  remisión a abogados. Si no puede pagar a un abogado, es posible que cumpla con los requisitos para obtener servicios legales gratuitos de un
  programa de servicios legales sin fines de lucro. Puede encontrar estos grupos sin fines de lucro en el sitio web de California Legal Services,
  (www.lawhelpcalifornia.org), en el Centro de Ayuda de las Cortes de California, (www.sucorte.ca.gov) o poniéndose en contacto con la corte o el
  colegio de abogados locales. AVISO: Por ley, la corte tiene derecho a reclamar las cuotas y los costos exentos por imponer un gravamen sobre
  cualquier recuperación de $10,000 ó más de valor recibida mediante un acuerdo o una concesión de arbitraje en un caso de derecho civil. Tiene que
  pagar el gravamen de la corte antes de que la corte pueda desechar el caso.
                                                                                                           CASE NUMBER:
 The name and address of the court is:                                                                     (Número del Caso):
 (El nombre y dirección de la corte es): Los Angeles Superior Court
 Stanley Mosk Courthouse, 111 North Hill Street, Los Angeles, CA 90012

 The name, address, and telephone number of plaintiff's attorney, or plaintiff without an attorney, is:
 (El nombre, la dirección y el número de teléfono del abogado del demandante, o del demandante que no tiene abogado, es):
 Tina Wolfson (SBN 174806), AHDOOT & WOLFSON, PC, 2600 W. Olive Avenue, Suite 500, Burbank, CA 91505; Tel: (310) 474-9111
 DATE:                                                               Clerk, by                                            , Deputy
 (Fecha)                                                             (Secretario)                                         (Adjunto)
 (For proof of service of this summons, use Proof of Service of Summons (form POS-010).)
 (Para prueba de entrega de esta citatión use el formulario Proof of Service of Summons, (POS-010)).
   [SEAL]                                  NOTICE TO THE PERSON SERVED: You are served
                                           1.      as an individual defendant.
                                           2.      as the person sued under the fictitious name of (specify):

                                           3.           on behalf of (specify):
                                                 under:        CCP 416.10 (corporation)                                          CCP 416.60 (minor)
                                                               CCP 416.20 (defunct corporation)                                  CCP 416.70 (conservatee)
                                                               CCP 416.40 (association or partnership)                           CCP 416.90 (authorized person)
                                                               other (specify):
                                           4.           by personal delivery on (date):
                                                                                                                                                                       Page 1 of 1
  Form Adopted for Mandatory Use                                                                                                             Code of Civil Procedure §§ 412.20, 465
    Judicial Council of California
                                                                               SUMMONS                                                                           www.courts.ca.gov
    SUM-100 [Rev. July 1, 2009]
 For your protection and privacy, please press the Clear
 This Form button after you have printed the form.                         Print this form            Save this form                                   Clear this form
                  Case 2:22-cv-09468 Document 1-122STCV35388
                                                    Filed 12/30/22 Page 3 of 102 Page ID #:17
                                 Assigned for all purposes to: Spring Street Courthouse, Judicial Officer: Maren Nelson



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           1      Tina Wolfson (SBN 174806)
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           8      gklinger@milberg.com
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           9      PHILLIPS GROSSMAN, PLLC
         10       227 W. Monroe Street, Suite 2100
                  Chicago, IL 60606
         11       Telephone: (847) 208-4585
         12       Attorneys for Plaintiff and the Putative Class
         13
                  [Additional counsel appear on signature page]
         14

         15
                                                 SUPERIOR COURT OF THE STATE OF CALIFORNIA
         16
                                                       IN AND FOR THE COUNTY OF LOS ANGELES
         17

         18      LAURA MOORE, on behalf of herself and                                          Case No.:
                 all others similarly situated,
         19
                                       Plaintiff,
                                                                                                CLASS ACTION COMPLAINT
         20
                  v.
         21
                  MEMORIALCARE MEDICAL GROUP d/b/a                                              JURY TRIAL DEMANDED
         22       MEMORIALCARE,

         23                             Defendant.

         24

         25

         26

         27

         28


                                                                          CLASS ACTION COMPLAINT
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 1          Plaintiff Laura Moore (“Plaintiff”), on behalf of herself and all others similarly situated (the

 2 “Class Members”), by and through her attorneys, makes the following allegations based on knowledge
 3 as to herself and upon information and belief, including further investigation conducted by Plaintiff’s
 4 counsel, as to all other matters.
 5                                       NATURE OF THE ACTION

 6          1.     This is a data privacy class action lawsuit brought on behalf of all California residents
 7 who have accessed www.memorialcare.org, a website Defendant owns and operates, and who had their
 8 personally identifiable information and/or protected health information improperly disclosed to

 9 Facebook as a result of using Defendant’s website.
10          2.     Defendant aids employs, agrees, and conspires with Facebook to intercept
11 communications sent and received by Plaintiff and Class Members, including communications
12 containing protected medical information.
13          3.        Plaintiffs and Class Members used www.memorialcare.org to search and locate
14 physicians, schedule medical appointments, and find treatment options. Defendant also encouraged its
15 patients to use additional web features—such as the general search bar and chat feature—to enter search
16 queries and ask specific questions regarding their medical conditions and healthcare options.
17          4.     Unbeknownst to Plaintiff and Class Members, and pursuant to the systematic process
18 described herein, patients’ private and protected communications with www.memorialcare.org were
19 automatically transmitted and communicated to Facebook, alongside other information—including but
20 not limited to individual patients’ IP addresses, physical locations, and unique and persistent Facebook
21 ID—as a result of Defendant’s decision to install and use tracking pixels on its website.
22          5.     As a result of Defendant’s unauthorized transmission of its patients’ identities and online
23 activity, including information and search results related to their private medical treatment, to a third
24 party, Plaintiff brings this action for legal and equitable remedies resulting from the violations of the
25 California Invasion of Privacy Act, the California Confidentiality of Medical Information Act, and for
26 the Invasion of Privacy Under California’s Constitution.
27
28

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 1                                      JURISDICTION AND VENUE

 2          6.      The Court has personal jurisdiction over Defendant because Defendant resides in and
 3 does business in the State of California.
 4          7.      This is a class action brought pursuant to Code of Civil Procedure section 382, and this
 5 Court has jurisdiction over the Plaintiff’s claims because the amount in controversy exceeds this

 6 Court’s jurisdictional minimum.
 7          8.      Federal jurisdiction under the Class Action Fairness Action, 28 U.S.C. §1332(d), is
 8 lacking because the proposed class of plaintiffs is limited to citizens of the state of California.

 9          9.      Venue is proper under Code of Civil Procedure sections 395(a) and 395.5 and Civil
10 Code section 1780(c) because a substantial part of the events or omissions giving rise to the claims
11 asserted herein occurred in this county. Attached to this Complaint is a Consumer Legal Remedies Act
12 Affidavit of Venue demonstrating that this Court is the proper venue for Plaintiff’s claims.
13                                               THE PARTIES
14          10.     MemorialCare Medical Group d/b/a MemorialCare (“MemorialCare” or “Defendant”)
15 is registered as a nonprofit entity with its principal place of business in California. Defendant employs
16 approximately 11,000 individuals, with over 3,000 medical staff physicians, and, as of June 30, 2021,
17 had an annual revenue of approximately $732,000,000. As the owner and operator of MemorialCare
18 Long Beach Medical Center among other medical centers and operations, Defendant offers a full range
19 of medical services, including primary and outpatient care, and treats thousands of patients each year.
20          11.     Plaintiff Laura Moore is an adult citizen of the state of California and is domiciled in
21 Long Beach, California. On numerous occasions from 2016 to 2021, Plaintiff Moore accessed
22 www.memorialcare.org on her phone and desktop and used the website to look for health care
23 providers. Plaintiff Moore has used and continues to use the same devices to maintain and access an
24 active Facebook account throughout the relevant period in this case. Pursuant to the systematic process
25 described      herein,   MemorialCare    assisted   Facebook     with   intercepting   Plaintiff   Moore’s
26 communications, including those that contained personally identifiable information, protected health
27 information, and related confidential information. MemorialCare assisted these interceptions without
28 Plaintiff Moore’s knowledge, consent, or express written authorization. By failing to receive the

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 1 requisite consent, Defendant breached confidentiality and unlawfully disclosed Plaintiff Moore’s

 2 personally identifiable information and protected health information.
 3                                       FACTUAL ALLEGATIONS
 4 A.       Background of the California Information Privacy Act (“CIPA”)
 5          12.     The CIPA, Cal. Penal Code §§ 630, et seq., prohibits aiding or permitting another person

 6 to willfully—and without the consent of all parties to a communication—read or learn the contents or
 7 meaning of any message, report, or communication while the same is in transit or passing over any
 8 wire, line, or cable, or is being sent from or received at any place within California.

 9          13.     To establish liability under section 631(a), a plaintiff need only establish that the
10 defendant, “by means of any machine, instrument, contrivance, or in any other manner,” does any of
11 the following:
12
            •       Intentionally taps, or makes any unauthorized connection, whether physically,
13                  electrically, acoustically, inductively or otherwise, with any telegraph or telephone wire,
                    line, cable, or instrument, including the wire, line, cable, or instrument of any internal
14                  telephonic communication system; or
15          •       Willfully and without the consent of all parties to the communication, or in any
                    unauthorized manner, reads or attempts to read or learn the contents or meaning of any
16                  message, report, or communication while the same is in transit or passing over any wire,
                    line or cable or is being sent from or received at any place within this state; or
17
            •       Uses, or attempts to use, in any manner, or for any purpose, or to communicate in any
18                  way, any information so obtained; or
19          •       Aids, agrees with, employs, or conspires with any person or persons to unlawfully do,
                    or permit, or cause to be done any of the acts or things mentioned above in this section.
20
21          14.     Section 631(a) is not limited to phone lines, but also applies to “new technologies” such

22 as computers, the Internet, and email. See Matera v. Google Inc., No. 15-cv-4062-LHK, 2016 WL
23 8200619, at *21 (N.D. Cal. Aug. 12, 2016) (CIPA applies to “new technologies” and must be construed
24 broadly to effectuate its remedial purpose of protecting privacy); Bradley v. Google, Inc., No. 06-cv-
25 5289-WHA, 2006 WL 3798134, at *5-6 (N.D. Cal. Dec. 22, 2006) (CIPA governs “electronic
26 communications”); In re Facebook, Inc. Internet Tracking Litigation, 956 F.3d 589 (9th Cir. 2020)
27 (reversing dismissal of CIPA and common law privacy claims based on Facebook’s collection of
28 consumers’ internet browsing history).

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 1          15.      Under California Penal Code section 637.2, Plaintiff and Class Members may seek

 2 injunctive relief and statutory damages of $2,500 per violation.
 3 B.       Background of the California Confidentiality of Medical Information Act (“CMIA”)
 4          16.      Pursuant to the California Confidentiality of Medical Information Act, Cal. Civ. Code
 5 §§ 56, et seq., “A provider of health care . . . shall not disclose medical information regarding a patient

 6 of the provider of health care . . . without first obtaining an authorization, except as provided in
 7 subdivision (b) or (c).” Cal. Civ. Code § 56.10(a).1 “An authorization for the release of medical
 8 information . . . shall be valid if it:

 9          (a) Is handwritten by the person who signs it or is in a typeface no smaller than 14-point
            type.
10
            (b) Is clearly separate from any other language present on the same page and is executed
11
            by a signature which serves no other purpose than to execute the authorization.
12
            (c) Is signed and dated . . .
13
            (d) States the specific uses and limitations on the types of medical information to be
14          disclosed.
15
            (e) States the name or functions of the provider of health care, health care service plan,
16          pharmaceutical company, or contractor that may disclose the medical information.

17          (f) States the name or functions of the persons or entities authorized to receive the
            medical information.
18
19          (g) States the specific uses and limitations on the use of the medical information by the
            persons or entities authorized to receive the medical information.
20
            (h) States a specific date after which the provider of health care, health care service plan,
21          pharmaceutical company, or contractor is no longer authorized to disclose the medical
            information.
22
23          (i) Advises the person signing the authorization of the right to receive a copy of the
            authorization.
24
25
   1
     Subdivisions (b) and (c) are not relevant to this case but permit the disclosure of medical information
26 in situations where a government investigation or lawsuit is taking place. For example, MemorialCare
27 could bypass the authorization requirement if patient medical information was requested pursuant to a
   lawful court order or by a party to a proceeding before a court or administrative agency pursuant to a
28 subpoena. See Cal. Civ. Code §§ 56.10(b)(3), 56.10(b)(6).

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 1 Cal. Civ. Code § 56.11.

 2          17.    Moreover, a health care provider that maintains information for purposes covered by the
 3 CMIA is liable for negligent disclosures that arise as the result of an affirmative act—such as
 4 implementing a system that records and discloses online patients’ personally identifiable information
 5 and protected health information. Cal. Civ. Code § 56.36(c).2 Similarly, if a negligent release occurs

 6 and medical information concerning a patient is improperly viewed or otherwise accessed, the
 7 individual need not suffer actual damages. Cal. Civ. Code § 56.36(b).
 8          18.    “In addition to any other remedies available at law, any individual may bring an action

 9 against any person or entity who has negligently released confidential information or records
10 concerning him or her in violation of this part, for either or both of the following: [¶] (1) ... nominal
11 damages of one thousand dollars ($1,000). In order to recover under this paragraph, it shall not be
12 necessary that the plaintiff suffered or was threatened with actual damages. [¶] (2) The amount of actual
13 damages, if any, sustained by the patient.” Sutter Health v. Superior Ct., 227 Cal. App. 4th 1546, 1551,
14 (2014) (quoting Cal. Civ. Code § 56.36(b)).
15 C.       MemorialCare’s Website
16          19.     MemorialCare is the largest health system headquartered in Orange County, California.
17 MemorialCare’s network includes several hospitals (Orange Coast Medical Center, Saddleback
18 Medical Center, Long Beach Medical Center and Miller Children’s & Women’s Hospital Long Beach),
19 MemorialCare Medical Group and Greater Newport Physicians, MemorialCare Research,
20 MemorialCare Select Health Plan, and numerous outpatient ambulatory surgery, and specialty care
21 centers.
22          20.    MemorialCare Long Beach Medical Center, for example, is a 435-bed regional medical
23 center that offers a full range of medical services, including primary and outpatient care. MemorialCare
24
25
   2
     “Every provider of health care . . . who creates, maintains, preserves, stores, abandons, destroys, or
26 disposes of medical information shall do so in a manner that preserves the confidentiality of the
27 information contained therein. Any provider of health care . . . who negligently creates, maintains,
   preserves, stores, abandons, destroys, or disposes of medical information shall be subject to the remedies
28 and penalties provided under subdivisions (b) and (c) of Section 56.36.” Cal. Civ. Code § 56.101(a).

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 1 Long Beach Medical Center’s services, include, but are not limited to: blood donation, breast care,

 2 cancer care, diabetes care, digestive care, emergency care, gynecological care, heart and vascular care,
 3 hospice services, imaging and radiology, joint replacement, laboratory services, lung and respiratory
 4 care, mental health, nursing services, orthopedic care, palliative care, physical therapy and
 5 rehabilitation services. Defendant’s coverage area includes 23 zip codes, representing 12 cities and

 6 communities, and it provides medical services to 1,059,713 people each year, based on Defendant’s
 7 own estimates as of 2021.
 8             21.   Defendant’s website, www.memorialcare.org, is accessible on mobile devices and

 9 desktop computers. MemorialCare also allows users to interact with its health system via several mobile
10 applications available for download on Android and iPhone devices.
11 D.          Facebook’s Platform and its Business Tools
12             22.   Facebook describes itself as a “real identity platform,”3 meaning users are allowed only
13 one account and must share “the name they go by in everyday life.”4 To that end, when creating an
14 account, users must provide their first and last name, along with their birthday and gender.5
15             23.   In 2021, Facebook generated $117 billion in revenue.6 Roughly 97% of that came from
16 selling advertising space.7
17
18
19
20
21   3
     Sam Schechner and Jeff Horwitz, How Many Users Does Facebook Have? The Company Struggles
   to Figure It Out, WALL. ST. J. (Oct. 21, 2021), https://www.wsj.com/articles/how-many-users-does-
22
   facebook-have-the-company-struggles-to-figure-it-out-11634846701.
23 4 Facebook Community Standards: Account Integrity and Authentic Identity, FACEBOOK, https://
   transparency.fb.com/policies/community-standards/account-integrity-and-authentic-identity/ (last
24
   visited Nov. 7, 2022).
25 5 Sign Up, FACEBOOK, https://www.facebook.com/ (last visited Nov. 7, 2022).
     6
26   Meta Reports Fourth Quarter and Full Year 2021 Results, FACEBOOK (Feb. 2, 2022), https://investor.
   fb.com/investor-news/press-release-details/2022/Meta-Reports-Fourth-Quarter-and-Full-Year-2021-
27 Results/default.aspx.
     7
28       Id.

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 1          24.    Facebook sells advertising space by highlighting its ability to target users.8 Facebook

 2 can target users so effectively because it surveils user activity both on and off its site.9 This allows
 3 Facebook to make inferences about users beyond what they explicitly disclose, like their “interests,”
 4 “behavior,” and “connections.”10 Facebook compiles this information into a generalized dataset called
 5 “Core Audiences,” which advertisers use to apply highly specific filters and parameters for their

 6 targeted advertisements.11
 7          25.    Advertisers can also build “Custom Audiences.”12 Custom Audiences enables
 8 advertisers to reach “people who have already shown interest in [their] business, whether they’re loyal

 9 customers or people who have used [their] app or visited [their] website.”13 With Custom Audiences,
10 advertisers can target existing customers directly, and they can also build a “Lookalike Audiences,”
11 which “leverages information such as demographics, interests, and behavior from your source audience
12 to find new people who share similar qualities.”14 Unlike Core Audiences, advertisers can build Custom
13 Audiences and Lookalike Audiences only if they first supply Facebook with the underlying data. They
14 can do so through two mechanisms: by manually uploading contact information for customers, or by
15 utilizing Facebook’s “Business Tools.”15
16
17
   8
       Why Advertise on Facebook, Instagram or other Meta technologies,                         FACEBOOK,
18 https://www.facebook.com/business/help/205029060038706 (last visited Nov. 7, 2022).
19   9
      About Meta Pixel, FACEBOOK, https://www.facebook.com/business/help/742478679120153?id=1205
     376682832142 (last visited Nov. 7, 2022).
20   10
     Ad Targeting: Help your ads vind the people who will love your business, FACEBOOK, https://www.
21 facebook.com/business/ads/ad-targeting (last visited Nov. 7, 2022).
     11
22    Core Audiences, FACEBOOK, https://www.facebook.com/business/news/Core-Audiences (last visited
     Nov. 7, 2022).
23   12
      About Custom Audiences, FACEBOOK, https://www.facebook.com/business/help/744354708981227?
24 id=2469097953376494    (last visited Nov. 7, 2022).
   13
      Ad Targeting: Help your ads vind the people who will love your business, FACEBOOK, https://www.
25 facebook.com/business/ads/ad-targeting (last visited Nov. 7, 2022).
26   14
       About Lookalike Audiences, FACEBOOK, https://www.facebook.com/business/help/16474900701353
     1?id=401668390442328 (last visited Nov. 7, 2022).
27
     15
      Create a customer list Custom Audience, FACEBOOK, https://www.facebook.com/business/help/1704
28 (footnote continued)

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 1          26.    As Facebook puts it, the Business Tools “help website owners and publishers, app

 2 developers and business partners, including advertisers and others, integrate with Meta, understand and
 3 measure their products and services, and better reach and serve people who might be interested in their
 4 products and services.”16 Put more succinctly, Facebook’s Business Tools are bits of code that
 5 advertisers can integrate into their website, mobile applications, and servers, thereby enabling Facebook

 6 to intercept and collect user activity on those platforms.
 7          27.    The Business Tools are automatically configured to capture certain data, like when a
 8 user visits a webpage, that webpage’s Universal Resource Locator (“URL”) and metadata, or when a

 9 user downloads a mobile application or makes a purchase.17 Facebook’s Business Tools can also track
10 other events. Facebook offers a menu of “standard events” from which advertisers can choose,
11 including what content a visitor views or purchases.18 Advertisers can even create their own tracking
12 parameters by building a “custom event.”19
13          28.    One such Business Tool is the Facebook Tracking Pixel. Facebook offers this piece of
14 code to advertisers, like MemorialCare, to integrate into their website. As the name implies, the
15 Facebook Pixel “tracks the people and type of actions they take.”20 When a user accesses a website
16
17
   56843145568?id=2469097953376494 (last visited Nov. 7, 2022); Create a Website Custom Audience,
18 FACEBOOK, https://www.facebook.com/business/help/1474662202748341?id=2469097953376494
   (last visited Nov. 7, 2022).
19
   16
      The Meta Business Tools, FACEBOOK, https://www.facebook.com/help/331509497253087 (last
20 visited Nov. 7, 2022).
     17
21    See Meta Pixel: Advanced: FACEBOOK, https://developers.facebook.com/docs/facebook-pixel/
   advanced/ (last visited Nov. 7, 2022); see also Best practices for Meta Pixel setup, FACEBOOK,
22 https://www.facebook.com/business/help/218844828315224?id=1205376682832142 (last visited Nov.
   7, 2022); App Events API, FACEBOOK, https://developers.facebook.com/docs/marketing-api/app-event-
23 api/ (last visited Nov. 7, 2022).
     18
24     Specifications for Meta Pixel standard events, FACEBOOK, https://www.facebook.com/business/help/
     402791146561655?id=1205376682832142 (Nov. 7, 2022).
25   19
      About standard and custom website events, FACEBOOK, https://www.facebook.com/business/help/96
26 4258670337005?id=1205376682832142 (Nov. 7, 2022); App Events API, FACEBOOK, https://
   developers.facebook.com/docs/marketing-api/app-event-api/ (Nov. 7, 2022).
27 20
      Retargeting, FACEBOOK, https://www.facebook.com/business/goals/retargeting (last visited Nov. 7,
28 2022).

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 1 that has installed the Facebook Pixel into its code, Facebook’s software script surreptitiously directs

 2 the user’s browser to send a separate message to Facebook’s servers. This second, secret transmission
 3 contains the original GET request sent to the host website, along with additional data that the Facebook
 4 Pixel is configured to collect. This transmission is initiated by Facebook code and concurrent with the
 5 communications with the host website. Two sets of code are thus automatically run as part of the

 6 browser’s attempt to load and read Defendant’s websites—Defendant’s own code, and Facebook’s
 7 embedded code.
 8          29.    An    example     illustrates   the    point.   When   an    individual    navigates   to

 9 www.memorialcare.org and clicks on a particular physician’s profile—or any other webpage installed
10 with Facebook Pixel—the individual’s browser sends a GET request to Defendant’s server requesting
11 that server to load the particular webpage. Facebook Pixel, via cookies and embedded code, silently
12 instructs the user’s browser to duplicate and transmit the user’s communications with
13 www.memorialcare.org, sending the corresponding data to Facebook’s servers, alongside additional
14 information that transcribes the communication’s content and the individual’s identity.
15          30.    After collecting and intercepting this information, Facebook processes it, analyzes it,
16 and assimilates it into datasets like Core Audiences and Custom Audiences.
17 E.       How MemorialCare Discloses Class Members Protected Health Information and Assists
18          with Intercepting Communications

19          31.    Through the Facebook Pixel, Defendant shares its patients’ identities and online activity,
20 including information and search results related to their private medical treatment.
21          32.    For example, when a patient visits www.memorialcare.org to search for a doctor, they
22 may select the “Find a Provider” button, which takes them to the “Find a Provider” page.
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                           Figure 1. Image of www.memorialcare.org’s landing page.
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24                   Figure 2. Defendant directs patients to its “Find a Provider” webpage.
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26          33.     If a patients selects filters or enters keywords into the search bar on the “Find a Provider”
27 webpage, the filters and search terms are transmitted via the Facebook Pixel. Similarly, if a patient uses
28 the websites’ general search bar or chat, the terms and phrases the patient types are transmitted to

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 1 Facebook, even if they contain a patient’s treatment, procedures, medical conditions, and related

 2 queries.
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20                                                Figure 3.21
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27    On information and belief, the text users type into the search bar is transmitted and included in the
   web      address     and      URL        that     corresponds      with       the     search    results.
28 https://www.memorialcare.org/search?query=ovarian+cancer (last accessed Nov. 1, 2022).

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 1         34.     The “Find a Provider” page also allows patients to narrow search results based on

 2 distance from a particular location, “Hospital,” “Medical Group,” and the provider’s “Specialty.”
 3 Patients can also narrow their search results based on the provider’s gender and spoken languages.
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20                                              Figures 4 & 5.
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22         35.     After taking any of these actions on the Find a Provider page, patients are subsequently
23 directed to the “Provider Search Results” page, and their selections or search parameters are
24 automatically transmitted.
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     Figure 7. Defendant’s “Find a Provider” webpage identifies doctors that fit the patient’s search criteria.
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14          36.     Once a patient chooses a doctor, all of the information that patient has submitted

15 is automatically sent directly to Facebook. On information and belief, the information transmitted to
16 Facebook includes: (1) the patient’s unique and persistent Facebook ID (c_user ID), (2) the fact that
17 the patient clicked on a specific provider’s profile page (Dr. Allison Diamant in the example below),
18 (3) the patient’s search parameters (demonstrating they specifically searched for a female doctor,
19 specialized in Internal Medicine, who is also recognized as an “LGBTQ Champion,”), and (4) the
20 patient’s location filter (demonstrating the patient sought a provider located in Santa Monica).
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                                                   Figure 8.22
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11          37.     Defendant’s website also includes a feature that allows patients to book appointments
12 through a particular doctor’s profile page. If a patient clicks on the “Schedule an Appointment” button,
13 this action is communicated and shared with Facebook. Facebook classifies this event as a
14 “SubscribedButtonClick,” which indicates that the patient clicked the specific button (in order to book
15 the appointment). Similarly, each doctor’s profile page includes a direct link that allows patient to call
16 the doctor's office, and, upon clicking the telephone number button, the patient’s click is shared with
17 Facebook.
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      The screenshot above serves as example and demonstrates the types of data transmitted during an
27 HTTP single communication session. This information is automatically sent from the patient’s device
   to Facebook, and it reveals the patients FID (c_user field) along with each search filter the patient
28 selected.

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 1          38.    MemorialCare’s website allows online patients to request an appointment with a doctor

 2 they have not been to before by completing an online form and selecting the “Make an Appointment”
 3 button. Upon doing this, Defendant shares the patient’s selection immediately with Facebook.
 4                                               Figure 9.23
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      The screenshot above serves as example and demonstrates the types of data transmitted during an
27 HTTP single communication session. This information is automatically sent from the patient’s device
   to Facebook, and it reveals the patients FID (c_user field) along with information indicating that the
28 user booked an appointment with a particular physician.

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14                                              Figure 11.
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25                                             Figure 12.24
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27   24
      Figures 11 and 12 are not specific to Defendant’s web page or to Plaintiff’s search queries but
   nonetheless demonstrate how and what is communicated via the Facebook Pixel. Importantly, this
28 (footnote continued)

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 1            39.      Each time Defendant sends this activity data, it also discloses a patient’s personally

 2 identifiable information.
 3            40.      A user who accesses Defendant’s website while logged into Facebook will transmit the
 4 c_user cookie to Facebook, which contains that user’s unencrypted Facebook ID. When accessing
 5 memorialcare.org, for example, Facebook receives even cookies, six of which are visible here:

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                                                     Figure 14
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12               41.     When a visitor’s browser has recently logged out of an account, Facebook compels

13    the visitor’s browser to send a smaller set of cookies.25

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                                                     Figure 15
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19               42.     The fr cookie contains, at least, an encrypted Facebook ID and browser identifier.26
20    Facebook, at a minimum, uses the fr cookie to identify users.27 At each stage, Defendant also utilizes
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22
23 occurred without Plaintiff’s knowledge or consent because patients’ communications with
   www.memorialcare.org are simultaneously duplicated and transmitted to Facebook, alongside their
24
   unique Facebook ID (c_user ID), during a single HTTP communication session.
25 25 Not pictured here and in the preceding image is the _fbp cookie, which is transmitted as a first-party
   cookie.
26
   26
      Facebook Ireland Ltd: Report of Re-Audit, DATA PROTECTION COMMISSIONER (Sept. 21, 2012),
27 http://www.europe-v-facebook.org/ODPC_Review.pdf.
     27
28        Cookies Policy, FACEBOOK, https://www.facebook.com/policy/cookies/ (last visited Nov. 7, 2022).

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 1    the _fbp cookie, which attaches to a browser as a first-party cookie, and which Facebook uses to

 2    identify a browser and a user.28
 3              43.   The fr cookie expires after 90 days unless the visitor’s browser logs back into Facebook
 4 or is otherwise used to visit the same website.29 If that happens, the time resets, and another 90 days
 5 begins to accrue.30

 6              44.   The Facebook Tracking Pixel uses both first and third-party cookies. A first-party
 7 cookie is “created by the website the user is visiting”—i.e., www.memorialcare.org.31 A third-party
 8 cookie is “created by a website with a domain name other than the one the user is currently visiting”—

 9 i.e., Facebook.32 The _fbp cookie is always transmitted as a first-party cookie. A duplicate _fbp cookie
10 is sometimes sent as a third-party cookie, depending on whether the browser has recently logged into
11 Facebook.
12              45.   Facebook, at a minimum, uses the fr, _fbp, and c_user cookies to link to Facebook IDs
13 and corresponding Facebook profiles, and, as shown in the above figures, Defendant sends these
14 identifiers alongside the event data.
15              46.   Plaintiff never consented, agreed, authorized, or otherwise permitted Defendant to
16 disclose her personally identifiable information and protected health information and assist with
17 intercepting her communications. Plaintiff was never provided with any written notice that Defendant
18 discloses its website users’ protected health information, nor was she provided any means of opting out
19 of such disclosures. Defendant nonetheless knowingly disclosed Plaintiff’s protected health
20 information to Facebook.
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     28
          Id.
24   29
          Id.
25   30
          Confirmable through developer tools.
     31
26    First-party cookie, PC MAG, https://www.pcmag.com/encyclopedia/term/first-party-cookie (last
   visited Nov. 7, 2022). This is confirmable by using developer tools to inspect a website’s cookies and
27 track network activity.
     32
28        Id. This is also confirmable by tracking network activity.

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 1          47.     By law, Plaintiff is entitled to privacy in her protected health information and

 2 confidential communications. MemorialCare deprived Plaintiff of her privacy rights when it: (1)
 3 implemented a system that surreptitiously tracked, recorded, and disclosed Plaintiff’s and other online
 4 patients’ confidential communications, personally identifiable information, and protected health
 5 information; (2) disclosed patients’ protected information to Facebook—an unauthorized third-party

 6 eavesdropper; and (3) undertook this pattern of conduct without notifying Plaintiff and without
 7 obtaining her express written consent. Plaintiff did not discover until October of 2022 that Defendant
 8 disclosed her personally identifiable information and protected health information to Facebook and

 9 assisted Facebook with intercepting her communications.
10                                    CLASS ACTION ALLEGATIONS
11          48.     Class Definition: Pursuant to section 382 of the Code of Civil Procedure, Plaintiff
12 brings this action on behalf of herself and other similarly situated individuals (the “Class”), defined as
13 California citizens who, during the class period, had their personally identifiable information or
14 protected health information improperly disclosed to Facebook through the use of the Facebook Pixel
15 tracking tool as a result of or in connection with using www.memorialcare.org. Plaintiff reserves the
16 right to modify the class definitions or add sub-classes as necessary prior to filing a motion for class
17 certification.
18          49.     The “Class Period” is the time period beginning on the date established by the Court’s
19 determination of any applicable statute of limitations, after consideration of any tolling, concealment,
20 and accrual issues, and ending on the date of entry of judgement.
21          50.     Excluded from the Class is Defendant; any affiliate, parent, or subsidiary of Defendant;
22 any entity in which Defendant has a controlling interest; any officer or director of Defendant; any
23 successor or assign of Defendant; anyone employed by counsel in this action; any judge to whom this
24 case is assigned, his or her spouse and immediate family members; and members of the judge’s staff.
25          51.     Numerosity/Ascertainability. Members of the Class are so numerous that joinder of
26 all members would be unfeasible and not practicable. The exact number of Class members is unknown
27 to Plaintiff at this time; however, it is estimated that there are hundreds of thousands of individuals in
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 1 the Class. The identity of such membership is readily ascertainable from MemorialCare’s records and

 2 non-party Facebook’s records.
 3          52.    Typicality. Plaintiff’s claims are typical of the claims of the Class because Plaintiff used
 4 www.memorialcare.org and had her personally identifiable information and protected health
 5 information disclosed to Facebook without her express written authorization or knowledge. Plaintiff’s

 6 claims are based on the same legal theories as the claims of other Class members.
 7          53.    Adequacy. Plaintiff is fully prepared to take all necessary steps to represent fairly and
 8 adequately the interests of the Class members. Plaintiff’s interests are coincident with, and not

 9 antagonistic to, those of the members of the Class. Plaintiff is represented by attorneys with experience
10 in the prosecution of class action litigation generally and in the emerging field of digital privacy
11 litigation specifically. Plaintiff’s attorneys are committed to vigorously prosecuting this action on
12 behalf of the members of the Class.
13          54.    Common Questions of Law and Fact Predominate/Well Defined Community of
14 Interest. Questions of law and fact common to the members of the Class predominate over questions
15 that may affect only individual members of the Class because Defendant has acted on grounds generally
16 applicable to the Class. Such generally applicable conduct is inherent in Defendant’s wrongful conduct.
17 Questions of law and fact common to the Classes include:
18          (a)    Whether Defendant intentionally tapped the lines of internet communication between
19                 patients and their medical providers;
20          (b)    Whether    Defendant’s     website    surreptitiously   records   personally   identifiable
21                 information, protected health information, and related communications and
22                 subsequently, or simultaneously, discloses that information to Facebook;
23          (c)    Whether Facebook is a third-party eavesdropper;
24          (d)    Whether Defendant’s disclosures of personally identifiable information, protected
25                 health information, and related communications constitute an affirmative act of
26                 communication;
27
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 1          (e)    Whether Defendant’s conduct, which allowed Facebook—an unauthorized person—to

 2                 view Plaintiff’s and Class members’ personally identifiable information and protected
 3                 health information, resulted in a breach of confidentiality;
 4          (f)    Whether Defendant violated Plaintiff’s and Class members’ privacy rights by using
 5                 Facebook’s tracking pixel to record and communicate online patients’ FIDs alongside

 6                 their confidential medical communications;
 7          (g)    Whether Plaintiff and Class members are entitled to damages under CIPA, the CMIA,
 8                 or any other relevant statute;

 9          (h)    Whether Defendant’s actions violate Plaintiff’s and Class members’ privacy rights as
10                 provided by the California Constitution;
11          55.    Superiority. Class action treatment is a superior method for the fair and efficient
12 adjudication of the controversy. Such treatment will permit a large number of similarly situated persons
13 to prosecute their common claims in a single forum simultaneously, efficiently, and without the
14 unnecessary duplication of evidence, effort, or expense that numerous individual actions would
15 engender. The benefits of proceeding through the class mechanism, including providing injured persons
16 or entities a method for obtaining redress on claims that could not practicably be pursued individually,
17 substantially outweighs potential difficulties in management of this class action. Plaintiff knows of no
18 special difficulty to be encountered in litigating this action that would preclude its maintenance as a
19 class action.
20                                         CLAIMS FOR RELIEF
21                                                COUNT I
                            Violations of the California Invasion of Privacy Act,
22                                          Cal. Penal Code § 631
23          56.    Plaintiff repeats the allegations contained in the paragraphs above as if fully set forth
24 herein and bring this Count individually and on behalf of the members of the Class.
25          57.    The California Invasion of Privacy Act (“CIPA”) is codified at Cal. Penal Code §§ 630
26 to 638. The Act begins with its statement of purpose.
27                 The Legislature hereby declares that advances in science and technology have led
                   to the development of new devices and techniques for the purpose of
28

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 1                eavesdropping upon private communications and that the invasion of privacy
                  resulting from the continual and increasing use of such devices and techniques has
 2                created a serious threat to the free exercise of personal liberties and cannot be
                  tolerated in a free and civilized society.
 3
 4 Cal. Penal Code § 630.
 5          58.    California penal Code section 631(a) provides, in pertinent part:
 6                 Any person who, by means of any machine, instrument, or contrivance, or in any
                   other manner … willfully and without the consent of all parties to the
 7
                   communication, or in any unauthorized manner, reads, or attempts to read, or to
 8                 learn the contents or meaning of any message, report, or communication while
                   the same is in transit or passing over any wire, line, or cable, or is being sent from,
 9                 or received at any place within this state; or who uses, or attempts to use, in any
                   manner, or for any purpose, or to communicate in any way, any information so
10                 obtained, or who aids, agrees with, employs, or conspires with any person or
11                 persons to unlawfully do, or permit, or cause to be done any of the acts or things
                   mentioned above in this section, is punishable by a fine not exceeding two
12                 thousand five hundred dollars ($2,500).

13 Cal. Penal Code § 631(a) (emphasis added).
14          59.    A defendant must show it had the consent of all parties to a communication.
15          60.    At all relevant times, Defendant aided, agreed with, and conspired with Facebook to
16 track and intercept Plaintiff’s and Class Members’ internet communications while accessing
17 www.memorialcare.org. They intercepted these communications without authorization and consent
18 from Plaintiff and Class Members.
19          61.    Defendant, when aiding and assisting Facebook’s eavesdropping, intended to help
20 Facebook learn some meaning of the content in the URLs and the content the visitor requested.
21          62.    The following items constitute “machine[s], instrument[s], or contrivance[s]” under the
22 CIPA, and even if they do not, the Facebook Tracking Pixel falls under the broad catch-all category of
23 “any other manner”:
24          a.     The computer codes and programs Facebook used to track Plaintiff’s and the Class
25                 Members’ communications while they were navigating memorialcare.org;
26          b.     The Plaintiff’s and Class Member’s browsers;
27          c.     The Plaintiff’s and Class Members’ computing and mobile devices;
28          d.     Facebook’s web and ad servers;

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 1          e.      The web and ad-servers from which Facebook tracked and intercepted the Plaintiff’s

 2                  and Class Members’ communications while they were using a web browser to access or
 3                  navigate the memorialcare.org;
 4          f.      The computer codes and programs used by Facebook to effectuate its tracking and
 5                  interception of the Plaintiff’s and Class Members’ communications while they were

 6                  using a browser to visit Defendant’s website; and
 7          g.      The plan Facebook carried out to effectuate its tracking and interception of the Plaintiff’s
 8                  and Class Members’ communications while they were using a web browser or mobile

 9                  application to visit Defendant’s website.
10          63.     Defendant failed to disclose that it is used Facebook Pixel specifically to track and
11 automatically transmit its patients’ private and confidential communications to a third party, i.e.,
12 Facebook. Moreover, the Patient Privacy Notice states that sharing information about patients for
13 marketing or sale of health information requires patients' authorization (as it does for every disclosure
14 of health information not provided for under the Privacy Policy).
15          64.     The patient communication information that Defendant transmitted using Facebook
16 Pixel, such as doctor appointment booking information, constitutes protected health information.
17          65.     As demonstrated hereinabove, Defendant violated CIPA by aiding and permitting third
18 parties to receive its patients’ online communications through its website without their consent.
19          66.     By disclosing Plaintiff’s and the Class’s Private Health Information, Defendant violated
20 Plaintiff’s and Class Members’ statutorily protected right to privacy.
21          67.     As a result of the above violations, Defendant is liable to the Plaintiff and other Class
22 Members for actual damages related to their loss of privacy in an amount to be determined at trial or
23 alternatively for “liquidated damages not less than $2,500 per plaintiff.” Pursuant to CIPA Section
24 637.2, any person who has been injured by a violation of CIPA may recover $5,000 dollars per violation
25 or three times the amount of actual damages (the greater of these two options). Additionally, Section
26 637.2 specifically states that “[it] is not a necessary prerequisite to an action pursuant to this section
27 that the plaintiffs has suffered, or be threatened with, actual damages.”
28

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 1          68.     Under the statute, Defendant is also liable for reasonable attorney’s fees, and other

 2 litigation costs, injunctive and declaratory relief, and punitive damages in an amount to be determined
 3 by a jury, but sufficient to prevent the same or similar conduct by the Defendant in the future.
 4                                               COUNT II
                  Violations Of the California Confidentiality of Medical Information Act
 5                                         Cal. Civ. Code § 56.10
 6          69.     Under the California Confidentiality of Medical Information Act (“CMIA”) section
 7 56.10, providers of health care are prohibited from disclosing medical information relating to their
 8 patients, without a patient’s authorization. Medical information refers to “any individually identifiable

 9 information, in electronic or physical form, in possession of or derived from a provider of health care
10 . . . regarding a patient’s medical history, mental or physical condition, or treatment. ‘Individually
11 Identifiable’ means that the medical information includes or contains any element of personal
12 identifying information sufficient to allow identification of the individual . . . .” Cal. Civ. Code § 56.05.
13          70.     Plaintiff and Class Members are patients, and, as a health care provider, Defendant has
14 an ongoing obligation to comply with the CMIA’s requirements.
15          71.     As set forth hereinabove, Facebook ID is an identifier sufficient to allow identification
16 of an individual. Along with patients’ Facebook ID, MemorialCare discloses to Facebook several pieces
17 of information regarding its patients’ use of its website, which includes, but is not limited to: patient
18 medical conditions, medical concerns, treatment patients are seeking, doctor appointments, medical
19 specialty of the doctor(s) searched for by patients, and patient information regarding COVID-19.
20          72.     This patient information is derived from a provider of health care regarding patients’
21 medical treatment and physical condition. Accordingly, it constitutes medical information pursuant to
22 the CMIA.
23          73.     As demonstrated hereinabove, MemorialCare failed to obtain its patients’ authorization
24 for the disclosure of medical information and failed to disclose in its Privacy Policy and Privacy
25 Practices that it shares protected health information for marketing purposes.
26          74.     Pursuant to CMIA section 56.11, a valid authorization for disclosure of medical
27 information must be (1) “clearly separate from any other language present on the same page and is
28 executed by a signature which serves no other purpose than to execute the authorization” (2) signed

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 1 and dated by the patient or his representative (3) state the name and function of the third party that

 2 receives the information (4) state a specific date after which the authorization expires. Accordingly, the
 3 information set forth in MemorialCare’s Privacy Policy, Patient Privacy Notice, and Terms of Use do
 4 not qualify as a valid authorization.
 5          75.    Based on the above, MemorialCare violated the CMIA by disclosing its patients’

 6 medical information with Facebook along with the patients’ Facebook ID.
 7          76.    Under the CMIA, a patient may recover compensatory damages, punitive damages not
 8 to exceed $3,000 dollars and attorneys’ fees not to exceed $1,000, and the costs of litigation for any

 9 violating disclosure of medical information. Alternatively, a patient may recover nominal damages of
10 $1,000 for any negligent release of medical information.
11                                              COUNT III
                            Invasion of Privacy Under California’s Constitution
12
13          77.    Plaintiff repeats the allegations contained in the foregoing paragraphs as if fully set forth

14 herein and bring this claim individually and on behalf of the members of the proposed Class.
15          78.    Plaintiff and Class Members have an interest in: (1) precluding the dissemination and/or

16 misuse of their sensitive, confidential communications and protected health information; and (2)
17 making personal decisions and/or conducting personal activities without observation, intrusion or
18 interference, including, but not limited to, the right to visit and interact with various internet sites
19 without being subjected to wiretaps without Plaintiff’s and Class Members’ knowledge or consent.
20          79.    At all relevant times, by using Facebook’s tracking pixel to record and communicate

21 patients’ FIDs alongside their confidential medical communications, MemorialCare intentionally
22 invaded Plaintiff’s and Class Members’ privacy rights under the California Constitution.
23          80.    Plaintiff and Class Members had a reasonable expectation that their communications,

24 identity, health information, and other data would remain confidential and that MemorialCare would
25 not install wiretaps on www.memorialcare.org.
26          81.    Plaintiff and Class Members did not authorize MemorialCare to record and transmit

27 Plaintiff’s and Class Members’ private medical communications alongside their personally identifiable
28 health information.

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 1          82.    This invasion of privacy is serious in nature, scope, and impact because it relates to

 2 patients’ private medical communications. Moreover, it constitutes an egregious breach of the societal
 3 norms underlying the privacy right.
 4          83.    Accordingly, Plaintiff and Class Members seek all relief available for invasion of
 5 privacy claims under California’s Constitution.

 6                                          RELIEF REQUESTED
 7          84.    Plaintiff, on behalf of herself and the proposed Class, respectfully requests that the Court
 8 grant the following relief:

 9                 (a)     Certification of this action as a class action and appointment of Plaintiff and
10 Plaintiff’s counsel to represent the Class;
11                 (b)     A declaratory judgment that Defendant violated the California Invasion of
12 Privacy Act, Cal. Penal Code § 631(a);
13                 (c)     A declaratory judgment that Defendant violated the California Confidentiality
14 of Medical Information Act, Cal. Civ. Code §§ 56, et seq.;
15                 (d)     A declaratory judgment that Defendant violated Plaintiff’s and Class Members’
16 privacy rights as provided at common law and pursuant to the California Constitution;
17                 (e)     An order enjoining Defendant from engaging in the unlawful practices and
18 illegal acts described herein;
19                 (f)     For actual or statutory damages;
20                 (g)     For punitive damages, as warranted, in an amount to be determined at trial;
21                 (h)     For prejudgment interest on all amounts awarded;
22                 (i)     For injunctive relief as pleaded or as the Court may deem proper;
23                 (j)     For an order awarding Plaintiff and the Class their reasonable attorneys’ fees and
24 expenses and costs of suit pursuant to California Code of Civil Procedure section 1021.5 and/or other
25 applicable law; and
26                 (k)     Such other and further relief as the Court may deem appropriate.
27
28

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1                                     DEMAND FOR JURY TRIAL

2             85. Plaintiff, on behalf of herself and the proposed Class, demand a trial by jury for all of
3 the claims asserted in this Complaint so triable.
4
     Dated: November 7, 2022
5                                                Tina Wolfson (SBN 174806)
6                                                twolfson@ahdootwolfson.com
                                                 Robert Ahdoot (SBN 172098)
7                                                rahdoot@ahdootwolfson.com
                                                 Christopher E. Stiner (SBN 276033)
8                                                cstiner@ahdootwolfson.com
                                                 AHDOOT & WOLFSON, PC
9                                                2600 W. Olive Avenue, Suite 500
                                                 Burbank, CA 91505
10                                               Telephone: (310) 474-9111
                                                 Facsimile: (310) 474-4521
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                                                 201 King of Prussia Road, Suite 650
14                                               Radnor, PA 19087
                                                 Telephone: (310) 474-9111
15                                               Facsimile: (310) 474-4521
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17                                               MILBERG COLEMAN BRYSON
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                                                 227 W. Monroe Street, Suite 2100
19                                               Chicago, IL 60606
                                                 Telephone: (847) 208-4585
20
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                                                 nsuciu@milberg.com
22                                               MILBERG COLEMAN BRYSON
                                                 PHILLIPS GROSSMAN, PLLC
23                                               6905 Telegraph Rd., Suite 115
                                                 Bloomfield Hills, MI 48301
24                                               Telephone: (313) 303-3482
25                                               Facsimile: (865) 522-0049

26                                               *Pro hac vice application forthcoming
27                                               Attorneys for Plaintiff and the Putative Class
28

                                                      - 27 -
                                         CLASS ACTION COMPLAINT
Electronically FILED by Superior Court of California, County of Los Angeles on 11/07/2022 07:46 PM Sherri R. Carter, Executive Officer/Clerk of Court, by G. Carini,Deputy Clerk
                                                                                                                                                                       CM-010
                     Case 2:22-cv-09468 Document 1-1 Filed 12/30/22 Page 31 of 102FORPage
     ATTORNEY OR PARTY WITHOUT ATTORNEY (Name, State Bar number, and address):22STCV35388    ID #:45
                                                                                      COURT USE ONLY
     Tina Wolfson (SBN 174806)
     AHDOOT & WOLFSON, PC, 2600 W. Olive Avenue, Suite 500, Burbank, CA 91505

                 TELEPHONE NO.:    (310) 474-9111          FAX NO. (Optional): (310) 474-4521
                 E-MAIL ADDRESS:   twolfson@ahdootwolfson.com
          ATTORNEY FOR (Name):     Plaintiff Laura Moore
     SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES
      STREET ADDRESS:       111 North Hill Street
      MAILING ADDRESS:
     CITY AND ZIP CODE:     Los Angeles, CA 90012
           BRANCH NAME:     Stanley Mosk Courthouse
     CASE NAME:
      Laura Moore v. MemorialCare Medical Group d/b/a MemorialCare
             CIVIL CASE COVER SHEET                                    Complex Case Designation                         CASE NUMBER:

       ✖      Unlimited                      Limited                  Counter               Joinder
              (Amount                        (Amount
                                                              Filed with first appearance by defendant JUDGE:
              demanded                       demanded is
                                                                  (Cal. Rules of Court, rule 3.402)     DEPT.:
              exceeds $25,000)               $25,000 or less)
                                               Items 1–6 below must be completed (see instructions on page 2).
      1. Check one box below for the case type that best describes this case:
           Auto Tort                                              Contract                                          Provisionally Complex Civil Litigation
                 Auto (22)                                                Breach of contract/warranty (06)          (Cal. Rules of Court, rules 3.400–3.403)
                 Uninsured motorist (46)                                  Rule 3.740 collections (09)                      Antitrust/Trade regulation (03)
           Other PI/PD/WD (Personal Injury/Property                       Other collections (09)                            Construction defect (10)
           Damage/Wrongful Death) Tort                                                                                      Mass tort (40)
                                                                          Insurance coverage (18)
                    Asbestos (04)                                         Other contract (37)                               Securities litigation (28)
                    Product liability (24)                                                                                Environmental/Toxic tort (30)
                                                                  Real Property
                    Medical malpractice (45)                                                                              Insurance coverage claims arising from the
                                                                         Eminent domain/Inverse
                   Other PI/PD/WD (23)                                                                                    above listed provisionally complex case
                                                                         condemnation (14)
                                                                                                                          types (41)
           Non-PI/PD/WD (Other) Tort                                     Wrongful eviction (33)                     Enforcement of Judgment
                    Business tort/unfair business practice (07)        Other real property (26)                           Enforcement of judgment (20)
                    Civil rights (08)                             Unlawful Detainer
                                                                                                                    Miscellaneous Civil Complaint
                    Defamation (13)                                       Commercial (31)
                                                                                                                            RICO (27)
                   Fraud (16)                                            Residential (32)
                                                                                                                            Other complaint (not specified above) (42)
                    Intellectual property (19)                          Drugs (38)
                                                                                                                    Miscellaneous Civil Petition
                    Professional negligence (25)                  Judicial Review
                                                                                                                            Partnership and corporate governance (21)
             ✖  Other non-PI/PD/WD tort (35)                              Asset forfeiture (05)
           Employment                                                    Petition re: arbitration award (11)                Other petition (not specified above) (43)

                    Wrongful termination (36)                             Writ of mandate (02)
                    Other employment (15)                                 Other judicial review (39)
     2.   This case ✖ is                 is not   complex under rule 3.400 of the California Rules of Court. If the case is complex, mark the
          factors requiring exceptional judicial management:
         a.        Large number of separately represented parties       d.   ✖    Large number of witnesses
         b. ✖ Extensive motion practice raising difficult or novel e.             Coordination with related actions pending in one or more
                   issues that will be time-consuming to resolve                  courts in other counties, states, or countries, or in a federal
         c. ✖ Substantial amount of documentary evidence                          court
                                                                        f.        Substantial postjudgment judicial supervision
     3. Remedies sought (check all that apply): a. ✖ monetary b. ✖ nonmonetary; declaratory or injunctive relief c. ✖ punitive
     4. Number of causes of action (specify): 3 - Violations of Cal. Penal Code § 631, Cal. Civ. Code § 56.10, Invasion of Privacy
     5. This case ✖ is                   is not   a class action suit.
     6. If there are any known related cases, file and serve a notice of related case. (You may use form CM-015.)
     Date: November 7, 2022
     Tina Wolfson
                                   (TYPE OR PRINT NAME)                                                           (SIGNATURE OF PARTY OR ATTORNEY FOR PARTY)
                                                                                    NOTICE
       • Plaintiff must file this cover sheet with the first paper filed in the action or proceeding (except small claims cases or cases filed
           under the Probate Code, Family Code, or Welfare and Institutions Code). (Cal. Rules of Court, rule 3.220.) Failure to file may result
           in sanctions.
       •   File this cover sheet in addition to any cover sheet required by local court rule.
       •   If this case is complex under rule 3.400 et seq. of the California Rules of Court, you must serve a copy of this cover sheet on all
           other parties to the action or proceeding.
       •   Unless this is a collections case under rule 3.740 or a complex case, this cover sheet will be used for statistical purposes only.
                                                                                                                                                                            Page 1 of 2
     Form Adopted for Mandatory Use                                                                                           Cal. Rules of Court, rules 2.30, 3.220, 3.400–3.403, 3.740;
       Judicial Council of California                               CIVIL CASE COVER SHEET                                            Cal. Standards of Judicial Administration, std. 3.10
     CM-010 [Rev.September 1, 2021]                                                                                                                                   www.courts.ca.gov
               Case 2:22-cv-09468 Document 1-1 Filed 12/30/22 Page 32 of 102 Page ID #:46 CM-010
                          INSTRUCTIONS ON HOW TO COMPLETE THE COVER SHEET
To Plaintiffs and Others Filing First Papers. If you are filing a first paper (for example, a complaint) in a civil case, you must
complete and file, along with your first paper, the Civil Case Cover Sheet contained on page 1. This information will be used to compile
statistics about the types and numbers of cases filed. You must complete items 1 through 6 on the sheet. In item 1, you must check
one box for the case type that best describes the case. If the case fits both a general and a more specific type of case listed in item 1,
check the more specific one. If the case has multiple causes of action, check the box that best indicates the primary cause of action.
To assist you in completing the sheet, examples of the cases that belong under each case type in item 1 are provided below. A cover
sheet must be filed only with your initial paper. Failure to file a cover sheet with the first paper filed in a civil case may subject a party,
its counsel, or both to sanctions under rules 2.30 and 3.220 of the California Rules of Court.
To Parties in Rule 3.740 Collections Cases. A "collections case" under rule 3.740 is defined as an action for recovery of money owed
in a sum stated to be certain that is not more than $25,000, exclusive of interest and attorney's fees, arising from a transaction in which
property, services, or money was acquired on credit. A collections case does not include an action seeking the following: (1) tort
damages, (2) punitive damages, (3) recovery of real property, (4) recovery of personal property, or (5) a prejudgment writ of
attachment. The identification of a case as a rule 3.740 collections case on this form means that it will be exempt from the general
time-for-service requirements and case management rules, unless a defendant files a responsive pleading. A rule 3.740 collections
case will be subject to the requirements for service and obtaining a judgment in rule 3.740.
To Parties in Complex Cases. In complex cases only, parties must also use the Civil Case Cover Sheet to designate whether the
case is complex. If a plaintiff believes the case is complex under rule 3.400 of the California Rules of Court, this must be indicated by
completing the appropriate boxes in items 1 and 2. If a plaintiff designates a case as complex, the cover sheet must be served with the
complaint on all parties to the action. A defendant may file and serve no later than the time of its first appearance a joinder in the
plaintiff's designation, a counter-designation that the case is not complex, or, if the plaintiff has made no designation, a designation that
the case is complex.                                      CASE TYPES AND EXAMPLES
 Auto Tort                                      Contract                                          Provisionally Complex Civil Litigation (Cal.
   Auto (22)–Personal Injury/Property              Breach of Contract/Warranty (06)               Rules of Court Rules 3.400–3.403)
           Damage/Wrongful Death                       Breach of Rental/Lease                          Antitrust/Trade Regulation (03)
       Uninsured Motorist (46) (if the                      Contract (not unlawful detainer            Construction Defect (10)
        case involves an uninsured                              or wrongful eviction)                  Claims Involving Mass Tort (40)
        motorist claim subject to                      Contract/Warranty Breach–Seller                 Securities Litigation (28)
        arbitration, check this item                        Plaintiff (not fraud or negligence)        Environmental/Toxic Tort (30)
        instead of Auto)                               Negligent Breach of Contract/                   Insurance Coverage Claims
 Other PI/PD/WD (Personal Injury/                           Warranty                                          (arising from provisionally complex
 Property Damage/Wrongful Death)                       Other Breach of Contract/Warranty                      case type listed above) (41)
 Tort                                              Collections (e.g., money owed, open            Enforcement of Judgment
      Asbestos (04)                                    book accounts) (09)                           Enforcement of Judgment (20)
         Asbestos Property Damage                      Collection Case–Seller Plaintiff                  Abstract of Judgment (Out of
         Asbestos Personal Injury/                     Other Promissory Note/Collections                       County)
               Wrongful Death                               Case                                     Confession of Judgment (non-
      Product Liability (not asbestos or           Insurance Coverage (not provisionally                  domestic relations)
          toxic/environmental) (24)                    complex) (18)                                 Sister State Judgment
      Medical Malpractice (45)                         Auto Subrogation                              Administrative Agency Award
           Medical Malpractice–                        Other Coverage                                    (not unpaid taxes)
                Physicians & Surgeons              Other Contract (37)                               Petition/Certification of Entry of
      Other Professional Health Care                   Contractual Fraud                                  Judgment on Unpaid Taxes
              Malpractice                              Other Contract Dispute                        Other Enforcement of Judgment
      Other PI/PD/WD (23)                       Real Property                                               Case
           Premises Liability (e.g., slip          Eminent Domain/Inverse                         Miscellaneous Civil Complaint
                and fall)                              Condemnation (14)                             RICO (27)
           Intentional Bodily Injury/PD/WD         Wrongful Eviction (33)                            Other Complaint (not specified
                 (e.g., assault, vandalism)        Other Real Property (e.g., quiet title) (26)            above) (42)
           Intentional Infliction of                   Writ of Possession of Real Property                 Declaratory Relief Only
                Emotional Distress                     Mortgage Foreclosure                                Injunctive Relief Only (non-
           Negligent Infliction of                     Quiet Title                                              harassment)
                 Emotional Distress                    Other Real Property (not eminent                    Mechanics Lien
           Other PI/PD/WD                              domain, landlord/tenant, or                         Other Commercial Complaint
 Non-PI/PD/WD (Other) Tort                             foreclosure)                                             Case (non-tort/non-complex)
      Business Tort/Unfair Business             Unlawful Detainer                                          Other Civil Complaint
          Practice (07)                            Commercial (31)                                              (non-tort/non-complex)
      Civil Rights (e.g., discrimination,          Residential (32)                               Miscellaneous Civil Petition
            false arrest) (not civil               Drugs (38) (if the case involves illegal          Partnership and Corporate
            harassment) (08)                       drugs, check this item; otherwise,                     Governance (21)
      Defamation (e.g., slander, libel)            report as Commercial or Residential)              Other Petition (not specified
             (13)                               Judicial Review                                           above) (43)
      Fraud (16)                                   Asset Forfeiture (05)                                  Civil Harassment
      Intellectual Property (19)                   Petition Re: Arbitration Award (11)                    Workplace Violence
      Professional Negligence (25)                 Writ of Mandate (02)                                   Elder/Dependent Adult
          Legal Malpractice                            Writ–Administrative Mandamus                            Abuse
          Other Professional Malpractice               Writ–Mandamus on Limited Court                     Election Contest
               (not medical or legal)                      Case Matter                                    Petition for Name Change
      Other Non-PI/PD/WD Tort (35)                     Writ–Other Limited Court Case                      Petition for Relief From Late
 Employment                                                Review                                              Claim
      Wrongful Termination (36)                    Other Judicial Review (39)                             Other Civil Petition
      Other Employment (15)                            Review of Health Officer Order
                                                       Notice of Appeal–Labor
                                                            Commissioner Appeals
CM-010 [Rev. September 1, 2021]                                                                                                           Page 2 of 2
                                                        CIVIL CASE COVER SHEET
                                   Case 2:22-cv-09468 Document 1-1 Filed 12/30/22 Page 33 of 102 Page ID #:47
 SHORT TITLE                                                                                                                    CASE NUMBER
Moore v. MemorialCare Medical Group d/b/a MemorialCare


                                      CIVIL CASE COVER SHEET ADDENDUM AND STATEMENT OF LOCATION
                                              (CERTIFICATE OF GROUNDS FOR ASSIGNMENT TO COURTHOUSE LOCATION)

                      This form is required pursuant to Local Rule 2.3 in all new civil case filings in the Los Angeles Superior Court

Step 1: After completing the Civil Case Cover Sheet (Judicial Council form CM-010), find the exact case type in
Column A that corresponds to the case type indicated in the Civil Case Cover Sheet.
Step 2: In Column B, check the box for the type of action that best describes the nature of the case.
Step 3: In Column C, circle the number which explains the reason for the court filing location you have chosen.


                                                  Applicable Reasons for Choosing Courthouse Location (Column C)
 1.                   Class Actions must be filed in the Stanley Mosk Courthouse, Central District.        7.   Location where petitioner resides.

 2.                   Permissive filing in Central District.                                               8.   Location wherein defendant/respondent functions wholly.

 3.                   Location where cause of action arose.                                                9.   Location where one or more of the parties reside.

 4.                   Location where bodily injury, death or damage occurred.                              10. Location of Labor Commissioner Office.

 5.                    Location where performance required, or defendant resides.                          11. Mandatory filing location (Hub Cases – unlawful detainer, limited
                                                                                                               non-collection, limited collection).
 6.                     Location of property or permanently garaged vehicle.




                                                A                                                            B                                                      C
                                        Civil Case Cover                                               Type of Action                                           Applicable
                                        Sheet Case Type                                               (check only one)                                        Reasons (see
                                                                                                                                                              Step 3 above)
                                             Auto (22)             ☐ 2201 Motor Vehicle – Personal Injury/Property Damage/Wrongful                                 1, 4
 Auto Tort




                                                                   Death
                                       Uninsured Motorist          ☐ 4601 Uninsured Motorist – Personal Injury/Property                                              1, 4
                                              (46)                 Damage/Wrongful Death
                                         Other Personal            ☐ 2301 Premise Liability (e.g., dangerous conditions of property,                                 1, 4
                                        Injury/ Property           slip/trip and fall, dog attack, etc.)
 Other Personal Injury/ Property




                                       Damage/ Wrongful
   Damage/ Wrongful Death




                                           Death (23)              ☐ 2302 Intentional Bodily Injury/Property Damage/Wrongful Death                                   1, 4
                                                                   (e.g., assault, battery, vandalism, etc.)

                                                                   ☐ 2303 Intentional Infliction of Emotional Distress                                               1, 4

                                                                   ☐ 2304 Other Personal Injury/Property Damage/Wrongful Death                                       1, 4

                                                                   ☐ 2305 Elder/Dependent Adult Abuse/Claims Against Skilled Nursing                                 1, 4
                                                                   Facility

                                                                   ☐ 2306 Intentional Conduct – Sexual Abuse Case (in any form)                                      1, 4


LASC CIV 109 Rev. 10/22                                          CIVIL CASE COVER SHEET ADDENDUM                                                        LASC Local Rule 2.3
For Mandatory Use
                                                                    AND STATEMENT OF LOCATION
                          Case 2:22-cv-09468 Document 1-1 Filed 12/30/22 Page 34 of 102 Page ID #:48
 SHORT TITLE                                                                                             CASE NUMBER
Moore v. MemorialCare Medical Group d/b/a MemorialCare


                                       A                                                 B                                            C
                               Civil Case Cover                                    Type of Action                                 Applicable
                               Sheet Case Type                                    (check only one)                              Reasons (see
                                                                                                                                Step 3 above)
                                                       ☐ 2307 Construction Accidents                                                 1, 4
                                                       ☐ 2308 Landlord – Tenant Habitability (e.g., bed bugs, mold, etc.)            1, 4
                              Product Liability (24)   ☐ 2401 Product Liability (not asbestos or toxic/ environmental)               1, 4
 Other Personal Injury/
  Property Damage/
    Wrongful Death




                                                                                                                                    1, 3, 5
                                                       ☐ 2402 Product Liability – Song-Beverly Consumer Warranty Act (CA
                                                       Civil Code §§1790-1795.8) (Lemon Law)
                              Medical Malpractice      ☐ 4501 Medical Malpractice – Physicians & Surgeons                            1, 4
                                     (45)
                                                       ☐ 4502 Other Professional Health Care Malpractice                             1, 4
                               Business Tort (07)      ☐ 0701 Other Commercial/Business Tort (not fraud or breach of                1, 2, 3
 Damage/Wrongful Death




                                                       contract)
                                Civil Rights (08)      ☐ 0801 Civil Rights/Discrimination                                           1, 2, 3
    Injury/Property
     Non-Personal




                                Defamation (13)        ☐ 1301 Defamation (slander/libel)                                            1, 2, 3
          Tort




                                   Fraud (16)          ☐ 1601 Fraud (no contract)                                                   1, 2, 3
                                 Professional          ☐ 2501 Legal Malpractice                                                     1, 2, 3
                                Negligence (25)
                                                       ☐ 2502 Other Professional Malpractice (not medical or legal)                 1, 2, 3
                                   Other (35)          ☐
                                                       ✔ 3501 Other Non-Personal Injury/Property Damage Tort                        1, 2, 3
                                  Wrongful             ☐ 3601 Wrongful Termination                                                  1, 2, 3
 Employment




                               Termination (36)
                              Other Employment         ☐ 1501 Other Employment Complaint Case                                       1, 2, 3
                                     (15)
                                                       ☐ 1502 Labor Commissioner Appeals                                              10

                              Breach of Contract /     ☐ 0601 Breach of Rental/Lease Contract (not unlawful detainer or              2, 5
                                 Warranty (06)         wrongful eviction)
                                (not insurance)
                                                       ☐ 0602 Contract/Warranty Breach – Seller Plaintiff (no                        2, 5
                                                       fraud/negligence)
                                                       ☐ 0603 Negligent Breach of Contract/Warranty (no fraud)                     1, 2, 5
                                                       ☐ 0604 Other Breach of Contract/Warranty (no fraud/ negligence)             1, 2, 5
 Contract




                                                       ☐ 0605 Breach of Rental/Lease Contract (COVID-19 Rental Debt)                 2, 5
                                Collections (09)       ☐ 0901 Collections Case – Seller Plaintiff                                  5, 6, 11
                                                       ☐ 0902 Other Promissory Note/Collections Case                                5, 11
                                                       ☐ 0903 Collections Case – Purchased Debt (charged off consumer debt         5, 6, 11
                                                       purchased on or after January 1, 2014)
                                                       ☐ 0904 Collections Case – COVID-19 Rental Debt                                5, 11
                              Insurance Coverage       ☐ 1801 Insurance Coverage (not complex)                                     1, 2, 5, 8
                                     (18)



LASC CIV 109 Rev. 10/22                                CIVIL CASE COVER SHEET ADDENDUM                                      LASC Local Rule 2.3
For Mandatory Use
                                                          AND STATEMENT OF LOCATION
                             Case 2:22-cv-09468 Document 1-1 Filed 12/30/22 Page 35 of 102 Page ID #:49
SHORT TITLE                                                                                           CASE NUMBER
 Moore v. MemorialCare Medical Group d/b/a MemorialCare


                                          A                                              B                                        C
                                  Civil Case Cover                                 Type of Action                            Applicable
                                  Sheet Case Type                                 (check only one)                         Reasons (see
                                                                                                                           Step 3 above)
                                 Other Contract (37)   ☐ 3701 Contractual Fraud                                               1, 2, 3, 5
               (Continued)
Contract




                                                       ☐ 3702 Tortious Interference                                           1, 2, 3, 5
                                                       ☐ 3703 Other Contract Dispute (not breach/insurance/fraud/           1, 2, 3, 8, 9
                                                       negligence)
                                  Eminent Domain/      ☐ 1401 Eminent Domain/Condemnation                                       2, 6
                                       Inverse                                              Number of Parcels _________
                                 Condemnation (14)
Real Property




                                  Wrongful Eviction    ☐ 3301 Wrongful Eviction Case                                            2, 6
                                         (33)
                                     Other Real        ☐ 2601 Mortgage Foreclosure                                              2, 6
                                    Property (26)      ☐ 2602 Quiet Title                                                       2, 6
                                                       ☐ 2603 Other Real Property (not eminent domain,                          2, 6
                                                       landlord/tenant, foreclosure)
                                 Unlawful Detainer     ☐ 3101 Unlawful Detainer – Commercial (not drugs or wrongful            6, 11
                                 – Commercial (31)     eviction)
Unlawful Detainer




                                 Unlawful Detainer     ☐ 3201 Unlawful Detainer – Residential (not drugs or wrongful           6, 11
                                 – Residential (32)    eviction)
                                 Unlawful Detainer     ☐ 3401 Unlawful Detainer – Post Foreclosure                            2, 6, 11
                                 – Post Foreclosure
                                        (34)
                                 Unlawful Detainer     ☐ 3801 Unlawful Detainer – Drugs                                       2, 6, 11
                                    – Drugs (38)
                                  Asset Forfeiture     ☐ 0501 Asset Forfeiture Case                                            2, 3, 6
                                        (05)
                                     Petition re       ☐ 1101 Petition to Compel/Confirm/Vacate Arbitration                     2, 5
                                  Arbitration (11)
Judicial Review




                                  Writ of Mandate      ☐ 0201 Writ – Administrative Mandamus                                    2, 8
                                        (02)           ☐ 0202 Writ – Mandamus on Limited Court Case Matter                       2
                                                       ☐ 0203 Writ – Other Limited Court Case Review                             2
                                   Other Judicial      ☐ 3901 Other Writ/Judicial Review                                        2, 8
                                    Review (39)
                                                       ☐ 3902 Administrative Hearing                                            2, 8

                                                       ☐ 3903 Parking Appeal                                                    2, 8

                                  Antitrust/Trade      ☐ 0301 Antitrust/Trade Regulation                                       1, 2, 8
Provisionally




                                  Regulation (03)
  Litigation
  Complex




                                   Asbestos (04)       ☐ 0401 Asbestos Property Damage                                         1, 11

                                                       ☐ 0402 Asbestos Personal Injury/Wrongful Death                          1, 11


LASC CIV 109 Rev. 10/22                                CIVIL CASE COVER SHEET ADDENDUM                                 LASC Local Rule 2.3
For Mandatory Use
                                                          AND STATEMENT OF LOCATION
                                Case 2:22-cv-09468 Document 1-1 Filed 12/30/22 Page 36 of 102 Page ID #:50
 SHORT TITLE                                                                                           CASE NUMBER
  Moore v. MemorialCare Medical Group d/b/a MemorialCare


                                             A                                            B                                          C
                                     Civil Case Cover                               Type of Action                              Applicable
                                     Sheet Case Type                               (check only one)                           Reasons (see
                                                                                                                              Step 3 above)
                                       Construction        ☐ 1001 Construction Defect                                             1, 2, 3
                                        Defect (10)
Provisionally Complex




                                     Claims Involving      ☐ 4001 Claims Involving Mass Tort                                      1, 2, 8
                                      Mass Tort (40)
      (Continued)
      Litigation




                                   Securities Litigation   ☐ 2801 Securities Litigation Case                                      1, 2, 8
                                           (28)
                                        Toxic Tort         ☐ 3001 Toxic Tort/Environmental                                       1, 2, 3, 8
                                   Environmental (30)
                                   Insurance Coverage      ☐ 4101 Insurance Coverage/Subrogation (complex case only)             1, 2, 5, 8
                                       Claims from
                                    Complex Case (41)
                                     Enforcement of        ☐ 2001 Sister State Judgment                                          2, 5, 11
                                      Judgment (20)
Enforcement of




                                                           ☐ 2002 Abstract of Judgment                                             2, 6
  Judgment




                                                           ☐ 2003 Confession of Judgment (non-domestic relations)                  2, 9
                                                           ☐ 2004 Administrative Agency Award (not unpaid taxes)                   2, 8
                                                           ☐ 2005 Petition/Certificate for Entry of Judgment Unpaid Tax            2, 8
                                                           ☐ 2006 Other Enforcement of Judgment Case                              2, 8, 9
                                        RICO (27)          ☐ 2701 Racketeering (RICO) Case                                        1, 2, 8
Civil Complaints




                                    Other Complaints       ☐ 4201 Declaratory Relief Only                                         1, 2, 8
 Miscellaneous




                                     (not specified        ☐ 4202 Injunctive Relief Only (not domestic/harassment)                 2, 8
                                       above) (42)
                                                           ☐ 4203 Other Commercial Complaint Case (non-                           1, 2, 8
                                                           tort/noncomplex)
                                                           ☐ 4304 Other Civil Complaint (non-tort/non-complex)                    1, 2, 8
                                       Partnership         ☐ 2101 Partnership and Corporation Governance Case                      2, 8
                                       Corporation
Miscellaneous Civil Petitions




                                     Governance (21)
                                     Other Petitions       ☐ 4301 Civil Harassment with Damages                                   2, 3, 9
                                      (not specified       ☐ 4302 Workplace Harassment with Damages                               2, 3, 9
                                       above) (43)
                                                           ☐ 4303 Elder/Dependent Adult Abuse Case with Damages                   2, 3, 9
                                                           ☐ 4304 Election Contest                                                   2
                                                           ☐ 4305 Petition for Change of Name/Change of Gender                     2, 7
                                                           ☐ 4306 Petition for Relief from Late Claim Law                         2, 3, 8
                                                           ☐ 4307 Other Civil Petition                                             2, 9




LASC CIV 109 Rev. 10/22                                    CIVIL CASE COVER SHEET ADDENDUM                                LASC Local Rule 2.3
For Mandatory Use
                                                              AND STATEMENT OF LOCATION
              Case 2:22-cv-09468 Document 1-1 Filed 12/30/22 Page 37 of 102 Page ID #:51
   SHORT TITLE                                                                   CASE NUMBER
  Moore v. MemorialCare Medical Group d/b/a MemorialCare


 Step 4: Statement of Reason and Address: Check the appropriate boxes for the numbers shown under Column
 C for the type of action that you have selected. Enter the address, which is the basis for the filing location
 including zip code. (No address required for class action cases.)

   REASON:                                                          ADDRESS:
                                                                                Stanley Mosk Courthouse
   ☐✔ 1. ☐ 2. ☐ 3. ☐ 4. ☐ 5. ☐ 6. ☐ 7. ☐ 8. ☐ 9. ☐ 10. ☐ 11
                                                                                   111 North Hill Street

   CITY:                            STATE:          ZIP CODE:
   Los Angeles                      CA               90012

 Step 5: Certification of Assignment: I certify that this case is properly filed in the ____________________
                                                                                             Central
 District of the Superior Court of California, County of Los Angeles [Code of Civ. Proc., 392 et seq., and LASC Local
 Rule 2.3(a)(1)(E)]

 Dated: ___________________
        11/07/2022                                              ____________________________________________
                                                                          (SIGNATURE OF ATTORNEY/FILING PARTY

 PLEASE HAVE THE FOLLOWING ITEMS COMPLETED AND READY TO BE FILED IN ORDER TO PROPERLY COMMENCE
 YOUR NEW COURT CASE:

      1. Original Complaint or Petition.
      2. If filing a Complaint, a completed Summons form for issuance by the Clerk.
      3. Civil Case Cover Sheet Judicial Council form CM-010.
      4. Civil Case Cover Sheet Addendum and Statement of Location form LASC CIV 109 (10/22).
      5. Payment in full of the filing fee, unless there is a court order for waiver, partial or schedule payments.
      6. A signed order appointing a Guardian ad Litem, Judicial Council form CIV-010, if the plaintiff or
         petitioner is a minor under 18 years of age will be required by Court to issue a Summons.
      7. Additional copies of documents to be conformed by the Clerk. Copies of the cover sheet and this
         addendum must be served along with the Summons and Complaint, or other initiating pleading in the
         case.




LASC CIV 109 Rev. 10/22              CIVIL CASE COVER SHEET ADDENDUM                               LASC Local Rule 2.3
For Mandatory Use
                                        AND STATEMENT OF LOCATION
            Case 2:22-cv-09468 Document 1-1 Filed 12/30/22 Page 38 of 102 Page ID #:52
                                                                                                Reserved for Clerk’s File Stamp
                  SUPERIOR COURT OF CALIFORNIA
                     COUNTY OF LOS ANGELES
  COURTHOUSE ADDRESS:
 Spring Street Courthouse
 312 North Spring Street, Los Angeles, CA 90012

                   NOTICE OF CASE ASSIGNMENT
                          UNLIMITED CIVIL CASE

                                                                                 CASE NUMBER:

  Your case is assigned for all purposes to the judicial officer indicated below. 22STCV35388

                           THIS FORM IS TO BE SERVED WITH THE SUMMONS AND COMPLAINT

                ASSIGNED JUDGE               DEPT     ROOM                  ASSIGNED JUDGE                       DEPT             ROOM
   ✔     Maren Nelson                       17




    Given to the Plaintiff/Cross-Complainant/Attorney of Record   Sherri R. Carter, Executive Officer / Clerk of Court
       11/08/2022
    on _____________________________                                        G. Carini
                                                                         By __________________________________, Deputy Clerk
                 (Date)
LACIV 190 (Rev 6/18)       NOTICE OF CASE ASSIGNMENT – UNLIMITED CIVIL CASE
LASC Approved 05/06
            Case 2:22-cv-09468 Document 1-1 Filed 12/30/22 Page 39 of 102 Page ID #:53
                                   INSTRUCTIONS FOR HANDLING UNLIMITED CIVIL CASES

The following critical provisions of the California Rules of Court, Title 3, Division 7, as applicable in the Superior Court, are summarized
for your assistance.

APPLICATION
The Division 7 Rules were effective January 1, 2007. They apply to all general civil cases.

PRIORITY OVER OTHER RULES
The Division 7 Rules shall have priority over all other Local Rules to the extent the others are inconsistent.

CHALLENGE TO ASSIGNED JUDGE
A challenge under Code of Civil Procedure Section 170.6 must be made within 15 days after notice of assignment for all purposes
to a judge, or if a party has not yet appeared, within 15 days of the first appearance.

TIME STANDARDS
Cases assigned to the Independent Calendaring Courts will be subject to processing under the following time standards:

COMPLAINTS
All complaints shall be served within 60 days of filing and proof of service shall be filed within 90 days.

CROSS-COMPLAINTS
Without leave of court first being obtained, no cross-complaint may be filed by any party after their answer is filed. Cross-
complaints shall be served within 30 days of the filing date and a proof of service filed within 60 days of the filing date.

STATUS CONFERENCE
A status conference will be scheduled by the assigned Independent Calendar Judge no later than 270 days after the filing of the
complaint. Counsel must be fully prepared to discuss the following issues: alternative dispute resolution, bifurcation, settlement,
trial date, and expert witnesses.

FINAL STATUS CONFERENCE
The Court will require the parties to attend a final status conference not more than 10 days before the scheduled trial date. All
parties shall have motions in limine, bifurcation motions, statements of major evidentiary issues, dispositive motions, requested
form jury instructions, special jury instructions, and special jury verdicts timely filed and served prior to the conference. These
matters may be heard and resolved at this conference. At least five days before this conference, counsel must also have exchanged
lists of exhibits and witnesses, and have submitted to the court a brief statement of the case to be read to the jury panel as required
by Chapter Three of the Los Angeles Superior Court Rules.

SANCTIONS
The court will impose appropriate sanctions for the failure or refusal to comply with Chapter Three Rules, orders made by the
Court, and time standards or deadlines established by the Court or by the Chapter Three Rules. Such sanctions may be on a party,
or if appropriate, on counsel for a party.

This is not a complete delineation of the Division 7 or Chapter Three Rules, and adherence only to the above provisions is
therefore not a guarantee against the imposition of sanctions under Trial Court Delay Reduction. Careful reading and
compliance with the actual Chapter Rules is imperative.

Class Actions
Pursuant to Local Rule 2.3, all class actions shall be filed at the Stanley Mosk Courthouse and are randomly assigned to a complex
judge at the designated complex courthouse. If the case is found not to be a class action it will be returned to an Independent
Calendar Courtroom for all purposes.

*Provisionally Complex Cases
Cases filed as provisionally complex are initially assigned to the Supervising Judge of complex litigation for determination of
complex status. If the case is deemed to be complex within the meaning of California Rules of Court 3.400 et seq., it will be
randomly assigned to a complex judge at the designated complex courthouse. If the case is found not to be complex, it will be
returned to an Independent Calendar Courtroom for all purposes.




LACIV 190 (Rev 6/18)        NOTICE OF CASE ASSIGNMENT – UNLIMITED CIVIL CASE
LASC Approved 05/06
          Case 2:22-cv-09468 Document 1-1 Filed 12/30/22 Page 40 of 102 Page ID #:54

                    Superior Court of California, County of Los Angeles


                          ALTERNATIVE DISPUTE RESOLUTION (ADR)
                                 INFORMATION PACKAGE
 THE PLAINTIFF MUST SERVE THIS ADR INFORMATION PACKAGE ON EACH PARTY WITH THE COMPLAINT.

 CROSS-COMPLAINANTS must serve this ADR Information Package on any new parties named to the action
 with the cross-complaint.



What is ADR?
ADR helps people find solutions to their legal disputes without going to trial. The main types of ADR are negotiation,
mediation, arbitration, and settlement conferences. When ADR is done by phone, videoconference or computer, it may
be called Online Dispute Resolution (ODR). These alternatives to litigation and trial are described below.

Advantages of ADR
   • Saves Time: ADR is faster than going to trial.
   • Saves Money: Parties can save on court costs, attorney’s fees, and witness fees.
   • Keeps Control (with the parties): Parties choose their ADR process and provider for voluntary ADR.
   • Reduces Stress/Protects Privacy: ADR is done outside the courtroom, in private offices, by phone or online.

Disadvantages of ADR
    • Costs: If the parties do not resolve their dispute, they may have to pay for ADR, litigation, and trial.
    • No Public Trial: ADR does not provide a public trial or a decision by a judge or jury.

Main Types of ADR
    1. Negotiation: Parties often talk with each other in person, or by phone or online about resolving their case with a
       settlement agreement instead of a trial. If the parties have lawyers, they will negotiate for their clients.

    2. Mediation: In mediation, a neutral mediator listens to each person’s concerns, helps them evaluate the
       strengths and weaknesses of their case, and works with them to try to create a settlement agreement that is
       acceptable to all. Mediators do not decide the outcome. Parties may go to trial if they decide not to settle.

                 Mediation may be appropriate when the parties
                    • want to work out a solution but need help from a neutral person.
                    • have communication problems or strong emotions that interfere with resolution.
                 Mediation may not be appropriate when the parties
                    • want a public trial and want a judge or jury to decide the outcome.
                    • lack equal bargaining power or have a history of physical/emotional abuse.



    LASC CIV 271 Rev. 02/22
    For Mandatory Use
                                                                                                                 Page 1 of 2
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                                   How to Arrange Mediation in Los Angeles County

      Mediation for civil cases is voluntary and parties may select any mediator they wish. Options include:

           a. The Civil Mediation Vendor Resource List
              If all parties in an active civil case agree to mediation, they may contact these organizations
              to request a “Resource List Mediation” for mediation at reduced cost or no cost (for selected
              cases).

                    •     ADR Services, Inc. Case Manager Elizabeth Sanchez, elizabeth@adrservices.com
                          (949) 863-9800
                    •     Mediation Center of Los Angeles Program Manager info@mediationLA.org
                          (833) 476-9145


      These organizations cannot accept every case and they may decline cases at their discretion. They may
      offer online mediation by video conference for cases they accept. Before contacting these organizations,
      review important information and FAQs at www.lacourt.org/ADR.Res.List

      NOTE: The Civil Mediation Vendor Resource List program does not accept family law, probate or small
      claims cases.

           b. Los Angeles County Dispute Resolution Programs
               https://hrc.lacounty.gov/wp-content/uploads/2020/05/DRP-Fact-Sheet-23October19-Current-as-of-October-2019-1.pdf

               Day of trial mediation programs have been paused until further notice.

               Online Dispute Resolution (ODR). Parties in small claims and unlawful detainer (eviction) cases
               should carefully review the Notice and other information they may receive about (ODR)
               requirements for their case.

           c. Mediators and ADR and Bar organizations that provide mediation may be found on the internet.

      3. Arbitration: Arbitration is less formal than trial, but like trial, the parties present evidence and
      arguments to the person who decides the outcome. In “binding” arbitration, the arbitrator’s
      decision is final; there is no right to trial. In "nonbinding" arbitration, any party can request a
      trial after the arbitrator’sdecision. For more information about arbitration, visit
      http://www.courts.ca.gov/programs-adr.htm

      4. Mandatory SettlementConferences (MSC): MSCs are ordered by the Court and are often held close
      to the trial date or on the day of trial. The parties and their attorneys meet with a judge or settlement
      officer who does not make a decision but who instead assists the parties in evaluating the strengths and
      weaknesses of the case and in negotiating a settlement. For information about the Court’s MSC
      programs for civil cases, visit ht tp://www.lacourt.org/division/civil/C10047.aspx

      Los Angeles Superior Court ADR website: http://www.lacourt.org/division/civil/C10109.aspx
      For general information and videos about ADR, visit http://www.courts.ca.gov/programs-adr.ht m


LASC CIV 271 Rev. 02/22
For Mandatory Use                                                                                               Page 2 of 2
      Case 2:22-cv-09468 Document 1-1 Filed 12/30/22 Page 42 of 102 Page ID #:56



                               VOLUNTARY EFFICIENT LITIGATION STIPULATIONS


                                  The Early Organizational Meeting Stipulation, Discovery
                               Resolution Stipulation, and Motions in Limine Stipulation are
Superior Court of California
County of Los Angeles
                               voluntary stipulations entered into by the parties. The parties
                               may enter into one, two, or all three of the stipulations;
                               however, they may not alter the stipulations as written,
                               because the Court wants to ensure uniformity of application.
Los Angeles County
Bar Association                These stipulations are meant to encourage cooperation
Litigation Section

Los Angeles County
                               between the parties and to assist in resolving issues in a
Bar Association Labor and
Employment Law Section         manner that promotes economic case resolution and judicial
                               efficiency.

                                  The    following   organizations    endorse    the   goal   of
Consumer Attorneys
Association of Los Angeles     promoting efficiency in litigation and ask that counsel
                               consider using these stipulations as a voluntary way to
                               promote communications and procedures among counsel
                               and with the court to fairly resolve issues in their cases.

                               Los Angeles County Bar Association Litigation Section
Southern California
Defense Counsel

                                          Los Angeles County Bar Association
                                             Labor and Employment Law Section

Association of
Business Trial Lawyers             Consumer Attorneys Association of Los Angeles


                                        Southern California Defense Counsel


                                        Association of Business Trial Lawyers

California Employment
Lawyers Association
                                    California Employment Lawyers Association


   LACIV 230 (NEW)
   LASC Approved 4-11
   For Optional Use
             Case 2:22-cv-09468 Document 1-1 Filed 12/30/22 Page 43 of 102 Page ID #:57



NAME AND ADDRESS OF ATTORNEY OR PARTY WITHOUT ATTORNEY:                 STATE BAR NUMBER            Reserved for Clerk’s File Stamp




          TELEPHONE NO.:                                  FAX NO. (Optional):
 E-MAIL ADDRESS (Optional):
    ATTORNEY FOR (Name):
SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES
COURTHOUSE ADDRESS:


PLAINTIFF:


DEFENDANT:


                                                                                           CASE NUMBER:
           STIPULATION – EARLY ORGANIZATIONAL MEETING

      This stipulation is intended to encourage cooperation among the parties at an early stage in
      the litigation and to assist the parties in efficient case resolution.

      The parties agree that:

      1. The parties commit to conduct an initial conference (in-person or via teleconference or via
         videoconference) within 15 days from the date this stipulation is signed, to discuss and consider
         whether there can be agreement on the following:

             a. Are motions to challenge the pleadings necessary? If the issue can be resolved by
                amendment as of right, or if the Court would allow leave to amend, could an amended
                complaint resolve most or all of the issues a demurrer might otherwise raise? If so, the parties
                agree to work through pleading issues so that a demurrer need only raise issues they cannot
                resolve. Is the issue that the defendant seeks to raise amenable to resolution on demurrer, or
                would some other type of motion be preferable? Could a voluntary targeted exchange of
                documents or information by any party cure an uncertainty in the pleadings?

             b. Initial mutual exchanges of documents at the “core” of the litigation. (For example, in an
                employment case, the employment records, personnel file and documents relating to the
                conduct in question could be considered “core.” In a personal injury case, an incident or
                police report, medical records, and repair or maintenance records could be considered
                “core.”);

             c. Exchange of names and contact information of witnesses;

             d. Any insurance agreement that may be available to satisfy part or all of a judgment, or to
                indemnify or reimburse for payments made to satisfy a judgment;

             e. Exchange of any other information that might be helpful to facilitate understanding, handling,
                or resolution of the case in a manner that preserves objections or privileges by agreement;

             f.   Controlling issues of law that, if resolved early, will promote efficiency and economy in other
                  phases of the case. Also, when and how such issues can be presented to the Court;

             g. Whether or when the case should be scheduled with a settlement officer, what discovery or
                court ruling on legal issues is reasonably required to make settlement discussions meaningful,
                and whether the parties wish to use a sitting judge or a private mediator or other options as
      LACIV 229 (Rev 02/15)
      LASC Approved 04/11               STIPULATION – EARLY ORGANIZATIONAL MEETING
      For Optional Use                                                                                                      Page 1 of 2
      Case 2:22-cv-09468 Document 1-1 Filed 12/30/22 Page 44 of 102 Page ID #:58
SHORT TITLE:                                                                      CASE NUMBER:




               discussed in the “Alternative Dispute Resolution (ADR) Information Package” served with the
               complaint;

      h. Computation of damages, including documents, not privileged or protected from disclosure, on
         which such computation is based;

      i.       Whether the case is suitable for the Expedited Jury Trial procedures (see information at
               www.lacourt.org under “Civil” and then under “General Information”).

2.             The time for a defending party to respond to a complaint or cross-complaint will be extended
               to ____________________ for the complaint, and ______________________ for the cross-
                        (INSERT DATE)                                       (INSERT DATE)
               complaint, which is comprised of the 30 days to respond under Government Code § 68616(b),
               and the 30 days permitted by Code of Civil Procedure section 1054(a), good cause having
               been found by the Civil Supervising Judge due to the case management benefits provided by
               this Stipulation. A copy of the General Order can be found at www.lacourt.org under “Civil”,
               click on “General Information”, then click on “Voluntary Efficient Litigation Stipulations”.

3.             The parties will prepare a joint report titled “Joint Status Report Pursuant to Initial Conference
               and Early Organizational Meeting Stipulation, and if desired, a proposed order summarizing
               results of their meet and confer and advising the Court of any way it may assist the parties’
               efficient conduct or resolution of the case. The parties shall attach the Joint Status Report to
               the Case Management Conference statement, and file the documents when the CMC
               statement is due.

4.             References to “days” mean calendar days, unless otherwise noted. If the date for performing
               any act pursuant to this stipulation falls on a Saturday, Sunday or Court holiday, then the time
               for performing that act shall be extended to the next Court day

The following parties stipulate:
Date:
                                                                 
                  (TYPE OR PRINT NAME)                                       (ATTORNEY FOR PLAINTIFF)
Date:
                                                                 
                  (TYPE OR PRINT NAME)                                      (ATTORNEY FOR DEFENDANT)
Date:
                                                                 
                  (TYPE OR PRINT NAME)                                      (ATTORNEY FOR DEFENDANT)
Date:
                                                                 

                  (TYPE OR PRINT NAME)                                      (ATTORNEY FOR DEFENDANT)
Date:
                                                                 
                  (TYPE OR PRINT NAME)                                 (ATTORNEY FOR _____________________)
Date:
                                                                 
                  (TYPE OR PRINT NAME)                                 (ATTORNEY FOR _____________________)
Date:
                                                                 
                  (TYPE OR PRINT NAME)                                 (ATTORNEY FOR _____________________)


LACIV 229 (Rev 02/15)
LASC Approved 04/11          STIPULATION – EARLY ORGANIZATIONAL MEETING                                  Page 2 of 2
      Print                    Save                                                                     Clear
             Case 2:22-cv-09468 Document 1-1 Filed 12/30/22 Page 45 of 102 Page ID #:59

NAME AND ADDRESS OF ATTORNEY OR PARTY WITHOUT ATTORNEY:                 STATE BAR NUMBER            Reserved for Clerk’s File Stamp




          TELEPHONE NO.:                                  FAX NO. (Optional):
 E-MAIL ADDRESS (Optional):
    ATTORNEY FOR (Name):
SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES
COURTHOUSE ADDRESS:


PLAINTIFF:


DEFENDANT:


                                                                                           CASE NUMBER:

                     STIPULATION – DISCOVERY RESOLUTION

      This stipulation is intended to provide a fast and informal resolution of discovery issues
      through limited paperwork and an informal conference with the Court to aid in the
      resolution of the issues.

      The parties agree that:

      1. Prior to the discovery cut-off in this action, no discovery motion shall be filed or heard unless
         the moving party first makes a written request for an Informal Discovery Conference pursuant
         to the terms of this stipulation.

      2. At the Informal Discovery Conference the Court will consider the dispute presented by parties
         and determine whether it can be resolved informally. Nothing set forth herein will preclude a
         party from making a record at the conclusion of an Informal Discovery Conference, either
         orally or in writing.

      3. Following a reasonable and good faith attempt at an informal resolution of each issue to be
         presented, a party may request an Informal Discovery Conference pursuant to the following
         procedures:

                  a. The party requesting the Informal Discovery Conference will:

                      i.      File a Request for Informal Discovery Conference with the clerk’s office on the
                              approved form (copy attached) and deliver a courtesy, conformed copy to the
                              assigned department;

                     ii.      Include a brief summary of the dispute and specify the relief requested; and

                    iii.      Serve the opposing party pursuant to any authorized or agreed method of service
                              that ensures that the opposing party receives the Request for Informal Discovery
                              Conference no later than the next court day following the filing.

                  b. Any Answer to a Request for Informal Discovery Conference must:

                      i.      Also be filed on the approved form (copy attached);

                     ii.      Include a brief summary of why the requested relief should be denied;
      LACIV 036 (new)
      LASC Approved 04/11                      STIPULATION – DISCOVERY RESOLUTION
      For Optional Use                                                                                                     Page 1 of 3
      Case 2:22-cv-09468 Document 1-1 Filed 12/30/22 Page 46 of 102 Page ID #:60
SHORT TITLE:                                                                   CASE NUMBER:




               iii.   Be filed within two (2) court days of receipt of the Request; and

               iv.    Be served on the opposing party pursuant to any authorized or agreed upon
                      method of service that ensures that the opposing party receives the Answer no
                      later than the next court day following the filing.

      c. No other pleadings, including but not limited to exhibits, declarations, or attachments, will
         be accepted.

      d. If the Court has not granted or denied the Request for Informal Discovery Conference
         within ten (10) days following the filing of the Request, then it shall be deemed to have
         been denied. If the Court acts on the Request, the parties will be notified whether the
         Request for Informal Discovery Conference has been granted or denied and, if granted,
         the date and time of the Informal Discovery Conference, which must be within twenty (20)
         days of the filing of the Request for Informal Discovery Conference.

      e. If the conference is not held within twenty (20) days of the filing of the Request for
         Informal Discovery Conference, unless extended by agreement of the parties and the
         Court, then the Request for the Informal Discovery Conference shall be deemed to have
         been denied at that time.

4. If (a) the Court has denied a conference or (b) one of the time deadlines above has expired
   without the Court having acted or (c) the Informal Discovery Conference is concluded without
   resolving the dispute, then a party may file a discovery motion to address unresolved issues.

5. The parties hereby further agree that the time for making a motion to compel or other
   discovery motion is tolled from the date of filing of the Request for Informal Discovery
   Conference until (a) the request is denied or deemed denied or (b) twenty (20) days after the
   filing of the Request for Informal Discovery Conference, whichever is earlier, unless extended
   by Order of the Court.

      It is the understanding and intent of the parties that this stipulation shall, for each discovery
      dispute to which it applies, constitute a writing memorializing a “specific later date to which
      the propounding [or demanding or requesting] party and the responding party have agreed in
      writing,” within the meaning of Code Civil Procedure sections 2030.300(c), 2031.320(c), and
      2033.290(c).

6. Nothing herein will preclude any party from applying ex parte for appropriate relief, including
   an order shortening time for a motion to be heard concerning discovery.

7. Any party may terminate this stipulation by giving twenty-one (21) days notice of intent to
   terminate the stipulation.

8. References to “days” mean calendar days, unless otherwise noted. If the date for performing
   any act pursuant to this stipulation falls on a Saturday, Sunday or Court holiday, then the time
   for performing that act shall be extended to the next Court day.



LACIV 036 (new)
LASC Approved 04/11             STIPULATION – DISCOVERY RESOLUTION
For Optional Use                                                                              Page 2 of 3
      Case 2:22-cv-09468 Document 1-1 Filed 12/30/22 Page 47 of 102 Page ID #:61
SHORT TITLE:                                                       CASE NUMBER:




The following parties stipulate:

Date:
                                                  
                (TYPE OR PRINT NAME)                            (ATTORNEY FOR PLAINTIFF)
Date:
                                                  
                (TYPE OR PRINT NAME)                           (ATTORNEY FOR DEFENDANT)
Date:
                                                  
                (TYPE OR PRINT NAME)                           (ATTORNEY FOR DEFENDANT)
Date:
                                                  
                (TYPE OR PRINT NAME)                           (ATTORNEY FOR DEFENDANT)
Date:
                                                  
                (TYPE OR PRINT NAME)                   (ATTORNEY FOR _____________________________)
Date:
                                                  
                (TYPE OR PRINT NAME)                   (ATTORNEY FOR _____________________________)
Date:
                                                  
                (TYPE OR PRINT NAME)                   (ATTORNEY FOR _____________________________)




        Print             Save                                                             Clear


LACIV 036 (new)
LASC Approved 04/11            STIPULATION – DISCOVERY RESOLUTION
For Optional Use                                                                            Page 3 of 3
             Case 2:22-cv-09468 Document 1-1 Filed 12/30/22 Page 48 of 102 Page ID #:62



NAME AND ADDRESS OF ATTORNEY OR PARTY WITHOUT ATTORNEY:                 STATE BAR NUMBER                        Reserved for Clerk’s File Stamp




          TELEPHONE NO.:                                  FAX NO. (Optional):
 E-MAIL ADDRESS (Optional):
    ATTORNEY FOR (Name):
SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES
COURTHOUSE ADDRESS:


PLAINTIFF:


DEFENDANT:


                                                                                                      CASE NUMBER:
                        INFORMAL DISCOVERY CONFERENCE
               (pursuant to the Discovery Resolution Stipulation of the parties)
      1. This document relates to:
                              Request for Informal Discovery Conference
                              Answer to Request for Informal Discovery Conference
      2. Deadline for Court to decide on Request: ________________                         (insert date 10 calendar days following filing of
             the Request).

      3. Deadline for Court to hold Informal Discovery Conference: ________________                                (insert date 20 calendar
             days following filing of the Request).

      4. For a Request for Informal Discovery Conference, briefly describe the nature of the
         discovery dispute, including the facts and legal arguments at issue. For an Answer to
         Request for Informal Discovery Conference, briefly describe why the Court should deny
         the requested discovery, including the facts and legal arguments at issue.




      LACIV 094 (new)
      LASC Approved 04/11
                                                  INFORMAL DISCOVERY CONFERENCE
      For Optional Use                  (pursuant to the Discovery Resolution Stipulation of the parties)
             Print                      Save                                                                                          Clear
             Case 2:22-cv-09468 Document 1-1 Filed 12/30/22 Page 49 of 102 Page ID #:63



NAME AND ADDRESS OF ATTORNEY OR PARTY WITHOUT ATTORNEY:                 STATE BAR NUMBER            Reserved for Clerk’s File Stamp




          TELEPHONE NO.:                                  FAX NO. (Optional):
 E-MAIL ADDRESS (Optional):
    ATTORNEY FOR (Name):
SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES
COURTHOUSE ADDRESS:


PLAINTIFF:


DEFENDANT:


                                                                                           CASE NUMBER:
              STIPULATION AND ORDER – MOTIONS IN LIMINE


      This stipulation is intended to provide fast and informal resolution of evidentiary
      issues through diligent efforts to define and discuss such issues and limit paperwork.


      The parties agree that:

      1. At least ____ days before the final status conference, each party will provide all other
         parties with a list containing a one paragraph explanation of each proposed motion in
         limine. Each one paragraph explanation must identify the substance of a single proposed
         motion in limine and the grounds for the proposed motion.

      2. The parties thereafter will meet and confer, either in person or via teleconference or
         videoconference, concerning all proposed motions in limine. In that meet and confer, the
         parties will determine:

             a. Whether the parties can stipulate to any of the proposed motions. If the parties so
                stipulate, they may file a stipulation and proposed order with the Court.

             b. Whether any of the proposed motions can be briefed and submitted by means of a
                short joint statement of issues. For each motion which can be addressed by a short
                joint statement of issues, a short joint statement of issues must be filed with the Court
                10 days prior to the final status conference. Each side’s portion of the short joint
                statement of issues may not exceed three pages. The parties will meet and confer to
                agree on a date and manner for exchanging the parties’ respective portions of the
                short joint statement of issues and the process for filing the short joint statement of
                issues.

      3. All proposed motions in limine that are not either the subject of a stipulation or briefed via
         a short joint statement of issues will be briefed and filed in accordance with the California
         Rules of Court and the Los Angeles Superior Court Rules.



      LACIV 075 (new)
      LASC Approved 04/11               STIPULATION AND ORDER – MOTIONS IN LIMINE
      For Optional Use                                                                                                     Page 1 of 2
      Case 2:22-cv-09468 Document 1-1 Filed 12/30/22 Page 50 of 102 Page ID #:64
SHORT TITLE:                                                   CASE NUMBER:




The following parties stipulate:

Date:
                                                
               (TYPE OR PRINT NAME)                       (ATTORNEY FOR PLAINTIFF)
Date:
                                                
               (TYPE OR PRINT NAME)                      (ATTORNEY FOR DEFENDANT)
Date:
                                                
               (TYPE OR PRINT NAME)                      (ATTORNEY FOR DEFENDANT)
Date:
                                                
               (TYPE OR PRINT NAME)                      (ATTORNEY FOR DEFENDANT)
Date:
                                                
               (TYPE OR PRINT NAME)                  (ATTORNEY FOR _____________________)
Date:
                                                
               (TYPE OR PRINT NAME)                  (ATTORNEY FOR _____________________)
Date:
                                                
               (TYPE OR PRINT NAME)                  (ATTORNEY FOR _____________________)



THE COURT SO ORDERS.

  Date:
                                                               JUDICIAL OFFICER




       Print              Save                                                       Clear

LACIV 075 (new)
LASC Approved 04/11      STIPULATION AND ORDER – MOTIONS IN LIMINE                   Page 2 of 2
      Case 2:22-cv-09468 Document 1-1 Filed 12/30/22 Page 51 of 102 Page ID #:65




 2
                                                                       FILED
                                                                    LOS ANGELES SUPERIOR COURT

 3                                                                          MAY 11 2011
 4                                                                     JOHN A CLAAKE,AL.EAK
                                                                           :"1( j~.YtU1tJ,N
 5                                                                   BY NANCV~AVAARO, DEPUTY

 6

 7                   SUPERIOR COURT OF THE STATE OF CALIFORNIA
 8                           FOR THE COUNTY OF LOS ANGELES
 9
     General Order Re                           )         ORDER PURSUANT TO CCP 1054(a),
10
     Use of Voluntary Efficient Litigation      )         EXTENDING TIME TO RESPOND BY
11   Stipulations                               )         30 DAYS WHEN PARTIES AGREE
                                                )         TO EARLY ORGANIZATIONAL
12                                              )         MEETING STIPULATION
13

14
            Whereas the Los Angeles Superior Court and the Executive Committee of the
15
     Litigation Section of the Los Angeles County Bar Association have cooperated in
16

17
     drafting "Voluntary Efficient Litigation Stipulations" and in proposing the stipulations for

18   use in general jurisdiction civil litigation in Los Angeles County;

19          Whereas the Los Angeles County Bar Association Litigation Section; the Los
20
     Angeles County Bar Association Labor and Employment Law Section; the Consumer
21
     Attorneys Association of Los Angeles; the Association of Southern California Defense
22

23   Counsel; the Association of Business Trial Lawyers of Los Angeles; and the California

24   Employment Lawyers Association all "endorse the goal of promoting efficiency in
25
     litigation, and ask that counsel consider using these stipulations as a voluntary way to
26
     promote communications and procedures among counsel and with the court to fairly
27
     resolve issues in their cases;"
28

                                                    -1-

                                0RDER PURSUANT TO CCP 1054(a)
      Case 2:22-cv-09468 Document 1-1 Filed 12/30/22 Page 52 of 102 Page ID #:66




            Whereas the Early Organizational Meeting Stipulation is intended to encourage

 2   cooperation among the parties at an early stage in litigation in order to achieve

 3   litigation efficiencies;
 4
            Whereas it is intended that use of the Early Organizational Meeting Stipulation
 5
     will promote economic case resolution and judicial efficiency;
 6

 7
            Whereas, in order to promote a meaningful discussion of pleading issues at the

 8   Early Organizational Meeting and potentially to reduce the need for motions to

 9   challenge the pleadings, it is necessary to allow additional time to conduct the Early
10
     Organizational Meeting before the time to respond to a complaint or cross complaint
11
     has expired;
12

13
            Whereas Code of Civil Procedure section 1054(a) allows a judge of the court in

14   which an action is pending to extend for not more than 30 days the time to respond to
15
     a pleading "upon good cause shown";
16
            Now, therefore, this Court hereby finds that there is good cause to extend for 30
17
     days the time to respond to a complaint or to a cross complaint in any action in which
18

19   the parties have entered into the Early Organizational Meeting Stipulation. This finding

20   of good cause is based on the anticipated judicial efficiency and benefits of economic
21
     case resolution that the Early Organizational Meeting Stipulation is intended to
22
     promote .
23
            IT IS HEREBY ORDERED that, in any case in which the parties have entered
24

25   into an Early Organizational Meeting Stipulation, the time for a defending party to

26   respond to a complaint or cross complaint shall be extended by the 30 days permitted
27

28

                                                -2-

                                0RDER PURSUANT TO CCP 1054(a)
            Case 2:22-cv-09468 Document 1-1 Filed 12/30/22 Page 53 of 102 Page ID #:67
,,.

           by Code of Civil Procedure section 1054(a) without further need of a specific court

       2   order.




       :   DATED:   ltu5 ~ Joi/                     Carolyn B. Kuh Supervising Judge of the
                                                    Civil Departments, Los Angeles Superior Court
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                                                     -3-

                                    0RDER PURSUANT TO CCP 1054(a)
      Case 2:22-cv-09468 Document 1-1 Filed 12/30/22 Page 54 of 102 Page ID #:68
                                                                                  Reserved for Clerk’s File Stamp
            SUPERIOR COURT OF CALIFORNIA
               COUNTY OF LOS ANGELES
COURTHOUSE ADDRESS:
Spring Street Courthouse
312 North Spring Street, Los Angeles, CA 90012
PLAINTIFF/PETITIONER:
Laura Moore,
DEFENDANT/RESPONDENT:
MemorialCare Medical Group
                                                                            CASE NUMBER:
                        CERTIFICATE OF MAILING                              22STCV35388

I, the below-named Executive Officer/Clerk of the above-entitled court, do hereby certify that I am not a
party to the cause herein, and that on this date I served the Minute Order (Court Order re: Complex
Designation) of 11/14/2022, Initial Status Conference Order upon each party or counsel named below by
placing the document for collection and mailing so as to cause it to be deposited in the United States mail
at the courthouse in Los Angeles, California, one copy of the original filed/entered herein in a separate
sealed envelope to each address as shown below with the postage thereon fully prepaid, in accordance
with standard court practices.




    Stiner E. Christopher
    Ahdoot & Wolfson, PC
    2600 W. Olive Avenue, Suite 500
    Burbank, CA 91505




                                                     Sherri R. Carter, Executive Officer / Clerk of Court
Dated: 11/14/2022                                    By:   M. Mata
                                                           Deputy Clerk




                                      CERTIFICATE OF MAILING
 Case 2:22-cv-09468 Document 1-1 Filed 12/30/22 Page 55 of 102 Page ID #:69

   SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES
                                           Civil Division
                    Central District, Spring Street Courthouse, Department 17

22STCV35388                                                                    November 14, 2022
LAURA MOORE, vs MEMORIALCARE MEDICAL GROUP                                            10:27 AM


Judge: Honorable Maren Nelson                      CSR: None
Judicial Assistant: Maribel Mata                   ERM: None
Courtroom Assistant: Cynthia Gomez                 Deputy Sheriff: None

APPEARANCES:
For Plaintiff(s): No Appearances
For Defendant(s): No Appearances




NATURE OF PROCEEDINGS: Court Order re: Complex Designation

By this order, the Court determines this case to be Complex according to Rule 3.400 of the
California Rules of Court. The Clerk’s Office has assigned this case to this department for all
purposes.

Pursuant to Government Code Sections 70616(a) and 70616(b), a single complex fee of one
thousand dollars ($1,000.00) must be paid on behalf of all plaintiffs. For defendants, a complex
fee of one thousand dollars ($1,000.00) must be paid for each defendant, intervenor, respondent
or adverse party, not to exceed, for each separate case number, a total of eighteen thousand
dollars ($18,000.00), collected from all defendants, intervenors, respondents, or adverse parties.
All such fees are ordered to be paid to Los Angeles Superior Court, within ten (10) days of
service of this order.

By this order, the Court stays the case, except for service of the Summons and Complaint. The
stay continues at least until the Initial Status Conference. Initial Status Conference is set for
02/01/2023 at 09:00 AM in this department. At least ten (10) days prior to the Initial Status
Conference, counsel for all parties must discuss the issues set forth in the Initial Status
Conference Order issued this date. Counsel must file a Joint Initial Status Conference Response
Statement five (5) court days before the Initial Status Conference.

The Initial Status Conference Order, served concurrently with this Minute Order, is to help the
Court and the parties manage this complex case by developing an orderly schedule for briefing,
discovery, and court hearings. The parties are informally encouraged to exchange documents and
information as may be useful for case evaluation.

Responsive pleadings shall not be filed until further Order of the Court. Parties must file a Notice
of Appearance in lieu of an Answer or other responsive pleading. The filing of a Notice of
Appearance shall not constitute a waiver of any substantive or procedural challenge to the
                                           Minute Order                                 Page 1 of 3
 Case 2:22-cv-09468 Document 1-1 Filed 12/30/22 Page 56 of 102 Page ID #:70

   SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES
                                           Civil Division
                    Central District, Spring Street Courthouse, Department 17

22STCV35388                                                                      November 14, 2022
LAURA MOORE, vs MEMORIALCARE MEDICAL GROUP                                              10:27 AM


Judge: Honorable Maren Nelson                       CSR: None
Judicial Assistant: Maribel Mata                    ERM: None
Courtroom Assistant: Cynthia Gomez                  Deputy Sheriff: None

Complaint. Nothing in this order stays the time for filing an Affidavit of Prejudice pursuant to
Code of Civil Procedure Section 170.6. Nothing in this order stays the filing of an Amended
Complaint pursuant to Labor Code Section 2699.3(a)(2)(C) by a plaintiff wishing to add a
Private Attorney General Act (“PAGA”) claim.

For information on electronic filing in the Complex Courts, please refer to
https://www.lacourt.org/division/efiling/efiling2.aspx#civil. See, in particular, the link therein for
“Complex Civil efiling.” Parties shall file all documents in conformity with the Presiding Judge’s
First Amended General Order of May 3, 2019, particularly including the provisions therein
requiring Bookmarking with links to primary documents and citations; that Order is available on
the Court’s website at the link shown above.

For efficiency in communication with counsel, the complex program requires the parties in every
new case to use an approved third-party cloud service that provides an electronic message board.
In order to facilitate communication with counsel prior to the Initial Status Conference, the
parties must sign-up with the e-service provider at least ten (10) court days in advance of the
Initial Status Conference and advise the Court which provider was selected.

The court has implemented LACourtConnect to allow attorneys, self-represented litigants and
parties to make audio or video appearances in Los Angeles County courtrooms.
LACourtConnect technology provides a secure, safe and convenient way to attend hearings
remotely. A key element of the Court’s Access LACourt YOUR WAY program to provide
services and access to justice, LACourtConnect is intended to enhance social distancing and
change the traditional in-person courtroom appearance model. See
https://my.lacourt.org/laccwelcome for more information.

This Complex Courtroom does not use Los Angeles Superior Court’s Court Reservation (“CRS”)
portal to reserve motion hearing dates. Rather, counsel may secure dates by calling the
Courtroom Assistant at 213-310-70xx with the “xx” being the Department number, e.g. Dept. 1
is 01 and Dept. 10 is 10.

Court reporters are not provided for hearings or trials. The parties should make their own
arrangements for any hearing where a transcript is desired.

If you believe a party or witness will need an interpreter, see the court’s website for information
on how to make such a request in a timely manner. https://www.lacourt.org/irud/UI/index.aspx

Counsel are directed to access the following link for further information on procedures in the
                                          Minute Order                                Page 2 of 3
 Case 2:22-cv-09468 Document 1-1 Filed 12/30/22 Page 57 of 102 Page ID #:71

   SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES
                                           Civil Division
                    Central District, Spring Street Courthouse, Department 17

22STCV35388                                                                    November 14, 2022
LAURA MOORE, vs MEMORIALCARE MEDICAL GROUP                                            10:27 AM


Judge: Honorable Maren Nelson                     CSR: None
Judicial Assistant: Maribel Mata                  ERM: None
Courtroom Assistant: Cynthia Gomez                Deputy Sheriff: None

Complex litigation Program courtrooms: https://www.lacourt.org/division/civil/CI0042.aspx.

The plaintiff must serve a copy of this minute order and the attached Initial Status Conference
Order on all parties forthwith and file a Proof of Service in this department within seven (7) days
of service.

Certificate of Mailing is attached.




                                          Minute Order                                 Page 3 of 3
  Case 2:22-cv-09468 Document 1-1 Filed 12/30/22 Page 58 of 102 Page ID #:72




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                                                                on R, OV   ge    Officer/Clerk of Court
                                                                                              Deputy




                   SUPERIOR COURT FOR THE STATE OF CALIFORNIA

                               COUNTY OF LOS ANGELES



LAURA          MOORE                             Case No.:          22STCV35388

                  Plaintiff,                     INITIAL STATUS CONFERENCE
                                                 ORDER (COMPLEX CLASS ACTIONS)


         VS.
                                                 Dept. 17
MEMORIAL CARE MEDICAL GROUP __                   Spring Street Courthouse
                                                     Hon. Maren E. Nelson
                  Defendant




         This Initial Status Conference Order (Complex Class Actions) supplements a

Minute Order served concurrently herewith.      That Minute Order sets a date and time for

the Initial Status Conference and includes other provisions which not repeated in this

Order.    Counsel should review that Minute Order carefully to be fully informed of your




                                       ISC   ORDER      -   1
     Case 2:22-cv-09468 Document 1-1 Filed 12/30/22 Page 59 of 102 Page ID #:73




obligations and the processes used in the Los Angeles Superior Court Complex

Courtrooms.


           Pending further order, the following is ordered:


I.         Initial Status Conference

           Counsel for all parties shall appear for an Initial Status Conference (“ISC”) per the
Minute Order served concurrently herewith.               |
       |   Counsel representing a party at the Isc or any other status conference should be

fully familiar with the facts as then understood and be able to make binding agreements
respecting case management.
           Parties presently engaged in mediation or who have a secured a date with a
mediator for mediation may stipulate to one continuance of the ISC, provided they also
agree upon an e-service provider, as set forth in Item 8, below, and include the name of
the provider and the date of the mediation in their Stipulation for Continuance.         It is
expected that parties using this procedure will timely exchange such information as is
necessary to have a productive mediation and that the mediation will go forward as
scheduled.
           At the ISC, the Court will discuss case management, set dates for motions, and

invite the parties to propose procedures to enhance efficiency and avoid duplicative or
unnecessary expenditures of time.
           At least ten (10) days prior to the ISC, all counsel shall meet, preferably by use of
telephone and/or video technology, to discuss case management.            Plaintiff’s counsel shall
take the lead in preparing a joint ISC Statement and ensuring that it is filed at least five
(5) court days prior to the ISC.       To the extent the parties are unable to agree on a joint
submission, each party may separately present a brief statement of its position. If any
party who has been served with this Order declines to participate, all other parties shall
file an ISC statement.
           The ISC Statement shall contain the followingin the following order:



                                           ISC   ORDER       -   2
Case 2:22-cv-09468 Document 1-1 Filed 12/30/22 Page 60 of 102 Page ID #:74




  . A succinct description of the facts of the case as then known. In wage and hour
    cases the nature of the employee’s work, the employer’s business, and the specific
    factual bases for claims under the Labor Code shall be provided. Citations to
    relevant statutes and pending appellate cases that may impact the case shall be
    provided.
  . A discussion of any issues of jurisdiction, venue, contractual arbitration/judicial

    reference that any party intends to raise and the meet and confer efforts to date on
    these issues. Prior to the ISC any party seeking arbitration shall have provided a
    copy of the applicable agreement to arbitrate to the opposing party and a decision
    should have been made as to whether a motion to compel arbitration will be
    required.   Dates for any motions involving challenges to jurisdiction, venue, the
    pleadings, or referrals to arbitration will be set at the ISC.
  . Counsel should address issues such as an agreement to share the cost of class
    notice/opt out procedures, the adequacy of class representatives, and potential
    conflicts of interest among class representatives.
  . Whether the action incorrectly identifies the name of any party and whether any
    party intends to add parties or causes of action by way of amendment, cross-
    complaint, or the like.

  . The names, addresses, telephone, email, and facsimile numbers of all counsel and

    the parties they represent.
  . Any basis for the Court’s recusal or disqualification.
  . A discussion of the identity of entities or persons other than those shown in the
    pleadings that may have a significant financial or other interest in the proceedings.
  . A joint recommendation for an e-service provider for inclusion in the Court’s
    order for initiation of e-service. The parties must employ an agreed e-service
    provider.   The parties shall identify the appointed e-service provider in the caption
    of each filing.
  . A brief description of any related cases pending in other courts or anticipated for
    future filing.



                                     ISC   ORDER   -   3
  Case 2:22-cv-09468 Document 1-1 Filed 12/30/22 Page 61 of 102 Page ID #:75




      10. Whether there is insurance coverage for the dispute.
      11.A      planto preserve evidence, to deploy a uniform system for identification of
              documents, and to protect confidentiality by, for example, executing a protective
              order.
      12.A preliminary discovery plan, with dates, reflecting the parties’ consideration of
              phased discovery, e.g., limiting initial discovery to a significant or dispositive
              issue as a predicate to an important early ruling or meaningful participation in an
              early mediation.   In class actions, the parties should address whether discovery
              should initially be limited to class certification issues.
  13. Where appropriate, the parties should outline a process for managing discovery of
              electronically stored information (ESI) by, for example, scheduling a meeting
              among counsel and the parties’ information technology consultants in order to
              address (1) the information management systems employed by the parties; (2) the
              location and custodian(s) of information likely to be subject to production |
              (including the identification of network and email servers and hard drives
             "maintained by target custodians); (3) the format in which electronically stored
              information will be produced; (4) the type of ESI that will be produced, i.e., data
              files, emails, etc.; and (5) appropriate search criteria for focused requests.
      14. Any proposed mechanism for and the timing of mediation and/or mandatory
              settlement conferences to assist in resolution of the case.
      15. Any issues regarding publicity which the Court should consider.
      16. Recommended dates and times for trial, filing of motions for class certification,

              alternative dispute resolution, and deadlines (and proposed briefing schedules) for
              filing other anticipated motions.
      17.      A recommended date for the next Status Conference.



Il.           Reminders And Other Information

      1. It is the joint responsibility of counsel to file a joint status conference statement for
              all status conferences scheduled after the ISC, which statement shall be filed five



                                               ISC ORDER     - 4
Case 2:22-cv-09468 Document 1-1 Filed 12/30/22 Page 62 of 102 Page ID #:76




    (5) court days in advance of the status conference.
  . Counsel may secure dates for motions by calling the Courtroom Assistant.
    Counsel should have jointly discussed any likely contested motion with each other
    and the Court before it is filed so that, if possible, the matter may be resolved or

    narrowed by agreement or, if filed, an appropriate briefing schedule is set.
  . Unless otherwise ordered, counsel may appear remotely for all appearances.
    Please be in a quiet place and note that a party speaking may not hear
    simultaneous speech in the courtroom.            Please speak slowly and pause frequently.
    Each counsel should advise the others at least 24 hours in advance as to whether
    an appearance will be remote or in person.
  . Any message on the message board for the Court should be joint and neutral in
    tone. Absent good cause shown no unilateral postings are appropriate.
  . In the ordinary course, discovery motions will not be heard without an Informal
    Discovery Conference (IDC) pursuant to Cal. Code of Civ. Pro. § 2016.080.

    Counsel may arrange for an IDC by jointly posting a request on the e-service
    provider’s message board.    If all counsel are not in agreement, counsel may
    request an IDC by filing LACIV094.          Unilateral requests for IDC by message
    board are not appropriate.
  . Specific direction as to the matters to be provided to the Court for the IDC and the
    timing of same will be given at the time the IDC is arranged and may vary
    depending on the nature of the dispute. Unless otherwise ordered, IDC are held by
    LACourtConnect and off the record.
  . It is the responsibility of all counsel to notify the Court promptly of any related
    case and to secure a ruling thereon. See Cal. Rules of Court, Rule 3.300 et. seq.
    This responsibility is on-going.
  . Posting documents to the e-service provider does not constitute filing a document.
    See the Minute Order for further terms re efiling.
  . Counsel desiring a protective order should consult the model on the court’s
    website and provide a redlined copy if deviations are made from same.            See



                                       ISC   ORDER      -   5
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         “Helpful Guidance From the Complex Litigation Judges” on the Complex
         Litigation webpage link provided in the Minute Order.
      10. Any future stay ordered by the Court for purposes of case management is not a
         stay under Code of Civil Procedure § 583.310 unless the Court so orders

      11. The dismissal of a class action requires court approval. Cal. Rules of Court, Rule
         3.770(a).   Counsel must submit a declaration setting forth, among other things, the
         reasons why a party seeks a dismissal in a class action and any and all
         consideration given in exchange for the dismissal.
      12. Settlement of claims filed under the Private Attorney General Act (PAGA)

         (whether or not filed as part of a class action) require notice to the Labor and
         Workforce Development Agency. Labor Code § 2699 (1)(2). A noticed hearing,
         with proof of service to LWDA and a proposed Order, is required to secure
         approval of the settlement of a PAGA claim.           Settlements that include dismissal of
         a PAGA claim require that the Court be advised of the specific terms of any
         release of the PAGA claim and the consideration, if any, for same.

To obtain approval of a class action settlement, the parties should strictly adhere to the
Guidelines for Motions for Preliminary.and Final Approval posted on the court’s website
under Tools for Litigators.    See the link to same in the Minute Order served concurrently
herewith.
IV.      Notice of the ISC Order
         Plaintiff’s counsel shall serve this Initial Status Conference Order on all defense

counsel, or if counsel is not known, on each defendant and file a Proof of Service with

the court within seven (7) days of the date of this Order.         If the Complaint has not been
served as of the date of this Order, plaintiff(s) must serve the Complaint, along with a
copy of this Order, within five (5) days of the date of this Order.
         Once served, each as yet non-appearing defendant shall file a Notice of
Appearance (identifying counsel by name, firm name, address, email address, telephone
number and fax number).       The filing of a Notice of Appearance is without prejudice to
M/



                                         ISC   ORDER   -   6
      Case 2:22-cv-09468 Document 1-1 Filed 12/30/22 Page 64 of 102 Page ID #:78




///
(a) any jurisdictional, substantive, or procedural challenge to the Complaint, (b) any
affirmative defense, and (c) the filing of any cross-complaint in this action.


Date: 11/14/2022



                                                               Maren E. Nelson
                                                          Judge of the Superior Court




                                       ISC   ORDER    7
                    Case 2:22-cv-09468 Document 1-1 Filed 12/30/22 Page 65 of 102 Page ID #:79
Electronically FILED by Superior Court of California, County of Los Angeles on 12/05/2022 02:39 PM Sherri R. Carter, Executive Officer/Clerk of Court, by E. Thomas,Deputy Clerk


   Attorney or Party without Attorney:                                                                                                For Court Use Only
   Tina Wolfson (SBN 174806)
   AHDOOT & WOLFSON, PC
   2600 W Olive Avenue Suite 500
   Burbank, CA 91505
     Telephone No: 818-474-9111

        Attorney For:                                                       Ref. No. or File No.:
                            Plaintiff
                                                                            MemorialCare FB Pixel Tracking

   Insert name of Court, and Judicial District and Branch Court:
   In The Superior Court of The State of California in And for The County of Los Angeles
       Plaintiff:       LAURA MOORE, on behalf of herself and all others similarly situated
   Defendant:           MEMORIALCARE MEDICAL GROUP d/b/a MEMORIALCARE,

              PROOF OF SERVICE                          Hearing Date:               Time:            Dept/Div:          Case Number:
                                                                                                                        22STCV35388
                 SUMMONS

  1.    At the time of service I was at least 18 years of age and not a party to this action.

  2.    I served copies of the Summons, Class Action Complaint; Civil Case Cover Sheet; Civil Case Cover Sheet Addendum and
        Statement of Location (Certificate of Grounds for Assignment to Courthouse Location); Notice of Case Assignment- Unlimited
        Civil Case; First Amended General Order; Minute Order; Initial Status Conference Order (Complex Class Actions); Order
        Pursuant to CCP 1054(a), Extending Time to Respond by 30 Days When Parties Agree to Early Organizational Meeting
        Stipulation; Voluntary Efficient Litigation Stipulations; Stipulation-Discovery Resolution; Stipulation-Early Organizational
        Meeting; Informal Discovery Conference; Stipulation And Order-Motions In Limine; Alternative Dispute Resolution (ADR)
        Information Package

  3.    a.    Party served:            MEMORIALCARE MEDICAL GROUP d/b/a MEMORIALCARE,
        b.    Person served:           Emailed

  4.    Address where the party was served:              CovidLegal@Memorialcare.org

  5.    I served the party:
        a. by personal service.           I personally delivered the documents listed in item 2 to the party or person authorized to receive
                                          service of process for the party (1) on (date): Wed, Nov 30, 2022 (2) at (time): 11:03 AM
        (1)         X      (business)
        (2)                (home)
        (3)                (other) :


  6.    The "Notice to the Person Served" (on the summons) was completed as follows:
        a.                as an individual defendant.
        b.                as the person sued under the fictitious name of (specify):
        c.                as occupant.
        d.      X         On behalf of (specify): MEMORIALCARE MEDICAL GROUP d/b/a MEMORIALCARE,
                          under the following Code of Civil Procedure section:
                                 416.10 (corporation)                                            X       415.95 (business organization, form unknown)
                                 416.20 (defunct corporation)                                            416.60 (minor)
                                 416.30 (joint stock company/association)                                416.70 (ward or conservatee)
                                 416.40 (association or partnership)                                     416.90 (authorized person)
                                 416.50 (public entity)                                                  415.46 (occupant)
                                 other:



                        Judicial Council Form POS-010                           PROOF OF                                                                          8022115
                        Rule 2.150.(a)&(b) Rev January 1, 2007                   SERVICE                                                                        (5161444)
                                                                                SUMMONS                                                                        Page 1 of 2
                  Case 2:22-cv-09468 Document 1-1 Filed 12/30/22 Page 66 of 102 Page ID #:80

 Attorney or Party without Attorney:                                                                               For Court Use Only
 Tina Wolfson (SBN 174806)
 AHDOOT & WOLFSON, PC
 2600 W Olive Avenue Suite 500
 Burbank, CA 91505
   Telephone No: 818-474-9111

      Attorney For:                                               Ref. No. or File No.:
                       Plaintiff
                                                                  MemorialCare FB Pixel Tracking

 Insert name of Court, and Judicial District and Branch Court:
 In The Superior Court of The State of California in And for The County of Los Angeles
     Plaintiff:    LAURA MOORE, on behalf of herself and all others similarly situated
 Defendant:        MEMORIALCARE MEDICAL GROUP d/b/a MEMORIALCARE,

           PROOF OF SERVICE                       Hearing Date:           Time:           Dept/Div:    Case Number:
                                                                                                       22STCV35388
              SUMMONS




                                                                             Recoverable cost Per CCP 1033.5(a)(4)(B)
7.    Person who served papers
      a. Name:                              Daniel Rodriguez
      b. Address:                           FIRST LEGAL
                                            1517 W. Beverly Blvd.
                                            LOS ANGELES, CA 90026
      c.    Telephone number:               (213) 250-1111
      d.    The fee for service was:        $41.75
      e.    I am:
            (1)   X     not a registered California process server.
            (2)           exempt from registration under Business and Professions Code section 22350(b).
            (3)           a registered California process server:
                          (i)          owner          employee          independent contractor
                          (ii)     Registration No:
                          (iii)    County:




8.    I declare under penalty of perjury under the laws of the State of California that the foregoing is true and correct.




                                                                                  11/30/2022
                                                                                     (Date)                           Daniel Rodriguez




                   Judicial Council Form POS-010                      PROOF OF                                                              8022115
                   Rule 2.150.(a)&(b) Rev January 1, 2007              SERVICE                                                            (5161444)
                                                                      SUMMONS                                                            Page 2 of 2
                      Case 2:22-cv-09468 Document 1-1 22STCV35388
                                                        Filed 12/30/22 Page 67 of 102 Page ID #:81
Electronically FILED by Superior Court of California, County of Los Angeles on 12/12/2022 11:26 AM Sherri R. Carter, Executive Officer/Clerk of Court, by M. Arellanes,Deputy Clerk


                                                                                                                                                                       SUM-100
                                                       AMENDED SUMMONS                                                                           FOR COURT USE ONLY
                                                                                                                                             (SOLO PARA USO DE LA CORTE)
                                                          (CITACION JUDICIAL)

      NOTICE TO DEFENDANT:
      (AVISO AL DEMANDADO):
      Memorial Health Services d/b/a MemorialCare


      YOU ARE BEING SUED BY PLAINTIFF:
      (LO ESTÁ DEMANDANDO EL DEMANDANTE):
      Laura Moore, on behalf of herself and all others similarly situated

       NOTICE! You have been sued. The court may decide against you without your being heard unless you respond within 30 days. Read the information
       below.
          You have 30 CALENDAR DAYS after this summons and legal papers are served on you to file a written response at this court and have a copy
       served on the plaintiff. A letter or phone call will not protect you. Your written response must be in proper legal form if you want the court to hear your
       case. There may be a court form that you can use for your response. You can find these court forms and more information at the California Courts
       Online Self-Help Center (www.courtinfo.ca.gov/selfhelp), your county law library, or the courthouse nearest you. If you cannot pay the filing fee, ask the
       court clerk for a fee waiver form. If you do not file your response on time, you may lose the case by default, and your wages, money, and property may
       be taken without further warning from the court.
          There are other legal requirements. You may want to call an attorney right away. If you do not know an attorney, you may want to call an attorney
       referral service. If you cannot afford an attorney, you may be eligible for free legal services from a nonprofit legal services program. You can locate
       these nonprofit groups at the California Legal Services Web site (www.lawhelpcalifornia.org), the California Courts Online Self-Help Center
       (www.courtinfo.ca.gov/selfhelp), or by contacting your local court or county bar association. NOTE: The court has a statutory lien for waived fees and
       costs on any settlement or arbitration award of $10,000 or more in a civil case. The court's lien must be paid before the court will dismiss the case.
       ¡AVISO! Lo han demandado. Si no responde dentro de 30 días, la corte puede decidir en su contra sin escuchar su versión. Lea la información a
       continuación.
          Tiene 30 DÍAS DE CALENDARIO después de que le entreguen esta citación y papeles legales para presentar una respuesta por escrito en esta
       corte y hacer que se entregue una copia al demandante. Una carta o una llamada telefónica no lo protegen. Su respuesta por escrito tiene que estar
       en formato legal correcto si desea que procesen su caso en la corte. Es posible que haya un formulario que usted pueda usar para su respuesta.
       Puede encontrar estos formularios de la corte y más información en el Centro de Ayuda de las Cortes de California (www.sucorte.ca.gov), en la
       biblioteca de leyes de su condado o en la corte que le quede más cerca. Si no puede pagar la cuota de presentación, pida al secretario de la corte que
       le dé un formulario de exención de pago de cuotas. Si no presenta su respuesta a tiempo, puede perder el caso por incumplimiento y la corte le podrá
       quitar su sueldo, dinero y bienes sin más advertencia.
          Hay otros requisitos legales. Es recomendable que llame a un abogado inmediatamente. Si no conoce a un abogado, puede llamar a un servicio de
       remisión a abogados. Si no puede pagar a un abogado, es posible que cumpla con los requisitos para obtener servicios legales gratuitos de un
       programa de servicios legales sin fines de lucro. Puede encontrar estos grupos sin fines de lucro en el sitio web de California Legal Services,
       (www.lawhelpcalifornia.org), en el Centro de Ayuda de las Cortes de California, (www.sucorte.ca.gov) o poniéndose en contacto con la corte o el
       colegio de abogados locales. AVISO: Por ley, la corte tiene derecho a reclamar las cuotas y los costos exentos por imponer un gravamen sobre
       cualquier recuperación de $10,000 ó más de valor recibida mediante un acuerdo o una concesión de arbitraje en un caso de derecho civil. Tiene que
       pagar el gravamen de la corte antes de que la corte pueda desechar el caso.
                                                                                                                CASE NUMBER:
      The name and address of the court is:                                                                     (Número del Caso):
      (El nombre y dirección de la corte es): Los Angeles Superior Court
                                                                                                                22STCV35388
      Spring Street Courthouse, 312 North Spring Street, Los Angeles, CA 90012

      The name, address, and telephone number of plaintiff's attorney, or plaintiff without an attorney, is:
      (El nombre, la dirección y el número de teléfono del abogado del demandante, o del demandante que no tiene abogado, es):
      Tina Wolfson (SBN 174806), AHDOOT & WOLFSON, PC, 2600 W. Olive Avenue, Suite 500, Burbank, CA 91505; Tel: (310) 474-9111
      DATE:                                                               Clerk, by                                            , Deputy
      (Fecha)                                                             (Secretario)                                         (Adjunto)
      (For proof of service of this summons, use Proof of Service of Summons (form POS-010).)
      (Para prueba de entrega de esta citatión use el formulario Proof of Service of Summons, (POS-010)).
        [SEAL]                                  NOTICE TO THE PERSON SERVED: You are served
                                                1.      as an individual defendant.
                                                2.      as the person sued under the fictitious name of (specify):

                                                3.           on behalf of (specify):
                                                      under:        CCP 416.10 (corporation)                                         CCP 416.60 (minor)
                                                                    CCP 416.20 (defunct corporation)                                 CCP 416.70 (conservatee)
                                                                    CCP 416.40 (association or partnership)                          CCP 416.90 (authorized person)
                                                                    other (specify):
                                                4.           by personal delivery on (date):
                                                                                                                                                                           Page 1 of 1
       Form Adopted for Mandatory Use                                                                                                            Code of Civil Procedure §§ 412.20, 465
         Judicial Council of California
                                                                                    SUMMONS                                                                          www.courts.ca.gov
         SUM-100 [Rev. July 1, 2009]
      For your protection and privacy, please press the Clear
      This Form button after you have printed the form.                         Print this form            Save this form                                  Clear this form
                                                   Case 2:22-cv-09468 Document 1-1 Filed 12/30/22 Page 68 of 102 Page ID #:82




                                              1    Tina Wolfson (SBN 174806)
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                                              5    2600 W. Olive Avenue, Suite 500
                                                   Burbank, CA 91505
                                              6    Telephone: (310) 474-9111
                                                   Facsimile: (310) 474-4521
                                              7
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                                              8    gklinger@milberg.com
                                                   MILBERG COLEMAN BRYSON
                                              9    PHILLIPS GROSSMAN, PLLC
                                              10   227 W. Monroe Street, Suite 2100
                                                   Chicago, IL 60606
                                              11   Telephone: (847) 208-4585
                                              12   Attorneys for Plaintiff and the Putative Class
                                              13   [Additional counsel appear on signature page]
                                              14
                                              15
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                                                                        SUPERIOR COURT OF THE STATE OF CALIFORNIA
                                              16
                                                                              IN AND FOR THE COUNTY OF LOS ANGELES
                                              17
                                              18   LAURA MOORE, on behalf of herself and            Case No.: 22STCV35388
                                                   all others similarly situated,
                                              19
                                                                 Plaintiff,                         FIRST AMENDED CLASS ACTION
                                              20                                                    COMPLAINT
                                                   v.
                                              21
                                                   MEMORIAL HEALTH SERVICES d/b/a/
                                              22   MEMORIALCARE,                                    JURY TRIAL DEMANDED

                                              23                  Defendant.
                                                                                                    Judge: Hon. Maren Nelson
                                              24                                                    Dept.: 17
                                              25
                                              26
                                              27
                                              28


                                                                                FIRST AMENDED CLASS ACTION COMPLAINT
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 1          Plaintiff Laura Moore (“Plaintiff”), on behalf of herself and all others similarly situated (the

 2 “Class Members”), by and through her attorneys, makes the following allegations based on knowledge
 3 as to herself and upon information and belief, including further investigation conducted by Plaintiff’s
 4 counsel, as to all other matters.
 5                                       NATURE OF THE ACTION

 6          1.     This is a data privacy class action lawsuit brought on behalf of all California residents
 7 who have accessed www.memorialcare.org, a website Defendant owns and operates, and who had their
 8 personally identifiable information and/or protected health information improperly disclosed to

 9 Facebook as a result of using Defendant’s website.
10          2.     Defendant aids employs, agrees, and conspires with Facebook to intercept
11 communications sent and received by Plaintiff and Class Members, including communications
12 containing protected medical information.
13          3.        Plaintiffs and Class Members used www.memorialcare.org to search and locate
14 physicians, schedule medical appointments, and find treatment options. Defendant also encouraged its
15 patients to use additional web features—such as the general search bar and chat feature—to enter search
16 queries and ask specific questions regarding their medical conditions and healthcare options.
17          4.     Unbeknownst to Plaintiff and Class Members, and pursuant to the systematic process
18 described herein, patients’ private and protected communications with www.memorialcare.org were
19 automatically transmitted and communicated to Facebook, alongside other information—including but
20 not limited to individual patients’ IP addresses, physical locations, and unique and persistent Facebook
21 ID—as a result of Defendant’s decision to install and use tracking pixels on its website.
22          5.     As a result of Defendant’s unauthorized transmission of its patients’ identities and online
23 activity, including information and search results related to their private medical treatment, to a third
24 party, Plaintiff brings this action for legal and equitable remedies resulting from the violations of the
25 California Invasion of Privacy Act, the California Confidentiality of Medical Information Act, and for
26 the Invasion of Privacy Under California’s Constitution.
27
28

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 1                                      JURISDICTION AND VENUE

 2           6.      The Court has personal jurisdiction over Defendant because Defendant resides in and
 3 does business in the State of California.
 4           7.      This is a class action brought pursuant to Code of Civil Procedure section 382, and this
 5 Court has jurisdiction over the Plaintiff’s claims because the amount in controversy exceeds this

 6 Court’s jurisdictional minimum.
 7           8.      Federal jurisdiction under the Class Action Fairness Action, 28 U.S.C. §1332(d), is
 8 lacking because the proposed class of plaintiffs is limited to citizens of the state of California.

 9           9.      Venue is proper under Code of Civil Procedure sections 395(a) and 395.5 because a
10 substantial part of the events or omissions giving rise to the claims asserted herein occurred in this
11 county.
12                                               THE PARTIES
13           10.     Memorial Health Services d/b/a MemorialCare (“MemorialCare” or “Defendant”) is
14 registered as a nonprofit entity with its principal place of business in California. Defendant employs
15 approximately 11,000 individuals, with over 3,000 medical staff physicians, and, as of June 30, 2021,
16 had an annual revenue of approximately $732,000,000. As the owner and operator of MemorialCare
17 Long Beach Medical Center among other medical centers and operations, Defendant offers a full range
18 of medical services, including primary and outpatient care, and treats thousands of patients each year.
19           11.     Plaintiff Laura Moore is an adult citizen of the state of California and is domiciled in
20 Long Beach, California. On numerous occasions from 2016 to 2021, Plaintiff Moore accessed
21 www.memorialcare.org on her phone and desktop and used the website to look for health care
22 providers. Plaintiff Moore has used and continues to use the same devices to maintain and access an
23 active Facebook account throughout the relevant period in this case. Pursuant to the systematic process
24 described       herein,   MemorialCare   assisted   Facebook     with   intercepting   Plaintiff   Moore’s
25 communications, including those that contained personally identifiable information, protected health
26 information, and related confidential information. MemorialCare assisted these interceptions without
27 Plaintiff Moore’s knowledge, consent, or express written authorization. By failing to receive the
28

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 1 requisite consent, Defendant breached confidentiality and unlawfully disclosed Plaintiff Moore’s

 2 personally identifiable information and protected health information.
 3                                       FACTUAL ALLEGATIONS
 4 A.       Background of the California Information Privacy Act (“CIPA”)
 5          12.     The CIPA, Cal. Penal Code §§ 630, et seq., prohibits aiding or permitting another person

 6 to willfully—and without the consent of all parties to a communication—read or learn the contents or
 7 meaning of any message, report, or communication while the same is in transit or passing over any
 8 wire, line, or cable, or is being sent from or received at any place within California.

 9          13.     To establish liability under section 631(a), a plaintiff need only establish that the
10 defendant, “by means of any machine, instrument, contrivance, or in any other manner,” does any of
11 the following:
12
            •       Intentionally taps, or makes any unauthorized connection, whether physically,
13                  electrically, acoustically, inductively or otherwise, with any telegraph or telephone wire,
                    line, cable, or instrument, including the wire, line, cable, or instrument of any internal
14                  telephonic communication system; or
15          •       Willfully and without the consent of all parties to the communication, or in any
                    unauthorized manner, reads or attempts to read or learn the contents or meaning of any
16                  message, report, or communication while the same is in transit or passing over any wire,
                    line or cable or is being sent from or received at any place within this state; or
17
            •       Uses, or attempts to use, in any manner, or for any purpose, or to communicate in any
18                  way, any information so obtained; or
19          •       Aids, agrees with, employs, or conspires with any person or persons to unlawfully do,
                    or permit, or cause to be done any of the acts or things mentioned above in this section.
20
21          14.     Section 631(a) is not limited to phone lines, but also applies to “new technologies” such

22 as computers, the Internet, and email. See Matera v. Google Inc., No. 15-cv-4062-LHK, 2016 WL
23 8200619, at *21 (N.D. Cal. Aug. 12, 2016) (CIPA applies to “new technologies” and must be construed
24 broadly to effectuate its remedial purpose of protecting privacy); Bradley v. Google, Inc., No. 06-cv-
25 5289-WHA, 2006 WL 3798134, at *5-6 (N.D. Cal. Dec. 22, 2006) (CIPA governs “electronic
26 communications”); In re Facebook, Inc. Internet Tracking Litigation, 956 F.3d 589 (9th Cir. 2020)
27 (reversing dismissal of CIPA and common law privacy claims based on Facebook’s collection of
28 consumers’ internet browsing history).

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                                  FIRST AMENDED CLASS ACTION COMPLAINT
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 1          15.      Under California Penal Code section 637.2, Plaintiff and Class Members may seek

 2 injunctive relief and statutory damages of $2,500 per violation.
 3 B.       Background of the California Confidentiality of Medical Information Act (“CMIA”)
 4          16.      Pursuant to the California Confidentiality of Medical Information Act, Cal. Civ. Code
 5 §§ 56, et seq., “A provider of health care . . . shall not disclose medical information regarding a patient

 6 of the provider of health care . . . without first obtaining an authorization, except as provided in
 7 subdivision (b) or (c).” Cal. Civ. Code § 56.10(a).1 “An authorization for the release of medical
 8 information . . . shall be valid if it:

 9          (a) Is handwritten by the person who signs it or is in a typeface no smaller than 14-point
            type.
10
            (b) Is clearly separate from any other language present on the same page and is executed
11
            by a signature which serves no other purpose than to execute the authorization.
12
            (c) Is signed and dated . . .
13
            (d) States the specific uses and limitations on the types of medical information to be
14          disclosed.
15
            (e) States the name or functions of the provider of health care, health care service plan,
16          pharmaceutical company, or contractor that may disclose the medical information.

17          (f) States the name or functions of the persons or entities authorized to receive the
            medical information.
18
19          (g) States the specific uses and limitations on the use of the medical information by the
            persons or entities authorized to receive the medical information.
20
            (h) States a specific date after which the provider of health care, health care service plan,
21          pharmaceutical company, or contractor is no longer authorized to disclose the medical
            information.
22
23          (i) Advises the person signing the authorization of the right to receive a copy of the
            authorization.
24
25
   1
     Subdivisions (b) and (c) are not relevant to this case but permit the disclosure of medical information
26 in situations where a government investigation or lawsuit is taking place. For example, MemorialCare
27 could bypass the authorization requirement if patient medical information was requested pursuant to a
   lawful court order or by a party to a proceeding before a court or administrative agency pursuant to a
28 subpoena. See Cal. Civ. Code §§ 56.10(b)(3), 56.10(b)(6).

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                                    FIRST AMENDED CLASS ACTION COMPLAINT
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 1 Cal. Civ. Code § 56.11.

 2          17.    Moreover, a health care provider that maintains information for purposes covered by the
 3 CMIA is liable for negligent disclosures that arise as the result of an affirmative act—such as
 4 implementing a system that records and discloses online patients’ personally identifiable information
 5 and protected health information. Cal. Civ. Code § 56.36(c).2 Similarly, if a negligent release occurs

 6 and medical information concerning a patient is improperly viewed or otherwise accessed, the
 7 individual need not suffer actual damages. Cal. Civ. Code § 56.36(b).
 8          18.    “In addition to any other remedies available at law, any individual may bring an action

 9 against any person or entity who has negligently released confidential information or records
10 concerning him or her in violation of this part, for either or both of the following: [¶] (1) ... nominal
11 damages of one thousand dollars ($1,000). In order to recover under this paragraph, it shall not be
12 necessary that the plaintiff suffered or was threatened with actual damages. [¶] (2) The amount of actual
13 damages, if any, sustained by the patient.” Sutter Health v. Superior Ct., 227 Cal. App. 4th 1546, 1551,
14 (2014) (quoting Cal. Civ. Code § 56.36(b)).
15 C.       MemorialCare’s Website
16          19.     MemorialCare is the largest health system headquartered in Orange County, California.
17 MemorialCare’s network includes several hospitals (Orange Coast Medical Center, Saddleback
18 Medical Center, Long Beach Medical Center and Miller Children’s & Women’s Hospital Long Beach),
19 MemorialCare Medical Group and Greater Newport Physicians, MemorialCare Research,
20 MemorialCare Select Health Plan, and numerous outpatient ambulatory surgery, and specialty care
21 centers.
22          20.    MemorialCare Long Beach Medical Center, for example, is a 435-bed regional medical
23 center that offers a full range of medical services, including primary and outpatient care. MemorialCare
24
25
   2
     “Every provider of health care . . . who creates, maintains, preserves, stores, abandons, destroys, or
26 disposes of medical information shall do so in a manner that preserves the confidentiality of the
27 information contained therein. Any provider of health care . . . who negligently creates, maintains,
   preserves, stores, abandons, destroys, or disposes of medical information shall be subject to the remedies
28 and penalties provided under subdivisions (b) and (c) of Section 56.36.” Cal. Civ. Code § 56.101(a).

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 1 Long Beach Medical Center’s services, include, but are not limited to: blood donation, breast care,

 2 cancer care, diabetes care, digestive care, emergency care, gynecological care, heart and vascular care,
 3 hospice services, imaging and radiology, joint replacement, laboratory services, lung and respiratory
 4 care, mental health, nursing services, orthopedic care, palliative care, physical therapy and
 5 rehabilitation services. Defendant’s coverage area includes 23 zip codes, representing 12 cities and

 6 communities, and it provides medical services to 1,059,713 people each year, based on Defendant’s
 7 own estimates as of 2021.
 8             21.   Defendant’s website, www.memorialcare.org, is accessible on mobile devices and

 9 desktop computers. MemorialCare also allows users to interact with its health system via several mobile
10 applications available for download on Android and iPhone devices.
11 D.          Facebook’s Platform and its Business Tools
12             22.   Facebook describes itself as a “real identity platform,”3 meaning users are allowed only
13 one account and must share “the name they go by in everyday life.”4 To that end, when creating an
14 account, users must provide their first and last name, along with their birthday and gender.5
15             23.   In 2021, Facebook generated $117 billion in revenue.6 Roughly 97% of that came from
16 selling advertising space.7
17
18
19
20
21   3
     Sam Schechner and Jeff Horwitz, How Many Users Does Facebook Have? The Company Struggles
   to Figure It Out, WALL. ST. J. (Oct. 21, 2021), https://www.wsj.com/articles/how-many-users-does-
22
   facebook-have-the-company-struggles-to-figure-it-out-11634846701.
23 4 Facebook Community Standards: Account Integrity and Authentic Identity, FACEBOOK, https://
   transparency.fb.com/policies/community-standards/account-integrity-and-authentic-identity/ (last
24
   visited Nov. 7, 2022).
25 5 Sign Up, FACEBOOK, https://www.facebook.com/ (last visited Nov. 7, 2022).
     6
26   Meta Reports Fourth Quarter and Full Year 2021 Results, FACEBOOK (Feb. 2, 2022), https://investor.
   fb.com/investor-news/press-release-details/2022/Meta-Reports-Fourth-Quarter-and-Full-Year-2021-
27 Results/default.aspx.
     7
28       Id.

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                                   FIRST AMENDED CLASS ACTION COMPLAINT
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 1          24.    Facebook sells advertising space by highlighting its ability to target users.8 Facebook

 2 can target users so effectively because it surveils user activity both on and off its site.9 This allows
 3 Facebook to make inferences about users beyond what they explicitly disclose, like their “interests,”
 4 “behavior,” and “connections.”10 Facebook compiles this information into a generalized dataset called
 5 “Core Audiences,” which advertisers use to apply highly specific filters and parameters for their

 6 targeted advertisements.11
 7          25.    Advertisers can also build “Custom Audiences.”12 Custom Audiences enables
 8 advertisers to reach “people who have already shown interest in [their] business, whether they’re loyal

 9 customers or people who have used [their] app or visited [their] website.”13 With Custom Audiences,
10 advertisers can target existing customers directly, and they can also build a “Lookalike Audiences,”
11 which “leverages information such as demographics, interests, and behavior from your source audience
12 to find new people who share similar qualities.”14 Unlike Core Audiences, advertisers can build Custom
13 Audiences and Lookalike Audiences only if they first supply Facebook with the underlying data. They
14 can do so through two mechanisms: by manually uploading contact information for customers, or by
15 utilizing Facebook’s “Business Tools.”15
16
17
   8
       Why Advertise on Facebook, Instagram or other Meta technologies,                         FACEBOOK,
18 https://www.facebook.com/business/help/205029060038706 (last visited Nov. 7, 2022).
19   9
      About Meta Pixel, FACEBOOK, https://www.facebook.com/business/help/742478679120153?id=1205
     376682832142 (last visited Nov. 7, 2022).
20   10
     Ad Targeting: Help your ads vind the people who will love your business, FACEBOOK, https://www.
21 facebook.com/business/ads/ad-targeting (last visited Nov. 7, 2022).
     11
22    Core Audiences, FACEBOOK, https://www.facebook.com/business/news/Core-Audiences (last visited
     Nov. 7, 2022).
23   12
      About Custom Audiences, FACEBOOK, https://www.facebook.com/business/help/744354708981227?
24 id=2469097953376494    (last visited Nov. 7, 2022).
   13
      Ad Targeting: Help your ads vind the people who will love your business, FACEBOOK, https://www.
25 facebook.com/business/ads/ad-targeting (last visited Nov. 7, 2022).
26   14
       About Lookalike Audiences, FACEBOOK, https://www.facebook.com/business/help/16474900701353
     1?id=401668390442328 (last visited Nov. 7, 2022).
27
     15
      Create a customer list Custom Audience, FACEBOOK, https://www.facebook.com/business/help/1704
28 (footnote continued)

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 1          26.    As Facebook puts it, the Business Tools “help website owners and publishers, app

 2 developers and business partners, including advertisers and others, integrate with Meta, understand and
 3 measure their products and services, and better reach and serve people who might be interested in their
 4 products and services.”16 Put more succinctly, Facebook’s Business Tools are bits of code that
 5 advertisers can integrate into their website, mobile applications, and servers, thereby enabling Facebook

 6 to intercept and collect user activity on those platforms.
 7          27.    The Business Tools are automatically configured to capture certain data, like when a
 8 user visits a webpage, that webpage’s Universal Resource Locator (“URL”) and metadata, or when a

 9 user downloads a mobile application or makes a purchase.17 Facebook’s Business Tools can also track
10 other events. Facebook offers a menu of “standard events” from which advertisers can choose,
11 including what content a visitor views or purchases.18 Advertisers can even create their own tracking
12 parameters by building a “custom event.”19
13          28.    One such Business Tool is the Facebook Tracking Pixel. Facebook offers this piece of
14 code to advertisers, like MemorialCare, to integrate into their website. As the name implies, the
15 Facebook Pixel “tracks the people and type of actions they take.”20 When a user accesses a website
16
17
   56843145568?id=2469097953376494 (last visited Nov. 7, 2022); Create a Website Custom Audience,
18 FACEBOOK, https://www.facebook.com/business/help/1474662202748341?id=2469097953376494
   (last visited Nov. 7, 2022).
19
   16
      The Meta Business Tools, FACEBOOK, https://www.facebook.com/help/331509497253087 (last
20 visited Nov. 7, 2022).
     17
21    See Meta Pixel: Advanced: FACEBOOK, https://developers.facebook.com/docs/facebook-pixel/
   advanced/ (last visited Nov. 7, 2022); see also Best practices for Meta Pixel setup, FACEBOOK,
22 https://www.facebook.com/business/help/218844828315224?id=1205376682832142 (last visited Nov.
   7, 2022); App Events API, FACEBOOK, https://developers.facebook.com/docs/marketing-api/app-event-
23 api/ (last visited Nov. 7, 2022).
     18
24     Specifications for Meta Pixel standard events, FACEBOOK, https://www.facebook.com/business/help/
     402791146561655?id=1205376682832142 (Nov. 7, 2022).
25   19
      About standard and custom website events, FACEBOOK, https://www.facebook.com/business/help/96
26 4258670337005?id=1205376682832142 (Nov. 7, 2022); App Events API, FACEBOOK, https://
   developers.facebook.com/docs/marketing-api/app-event-api/ (Nov. 7, 2022).
27 20
      Retargeting, FACEBOOK, https://www.facebook.com/business/goals/retargeting (last visited Nov. 7,
28 2022).

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 1 that has installed the Facebook Pixel into its code, Facebook’s software script surreptitiously directs

 2 the user’s browser to send a separate message to Facebook’s servers. This second, secret transmission
 3 contains the original GET request sent to the host website, along with additional data that the Facebook
 4 Pixel is configured to collect. This transmission is initiated by Facebook code and concurrent with the
 5 communications with the host website. Two sets of code are thus automatically run as part of the

 6 browser’s attempt to load and read Defendant’s websites—Defendant’s own code, and Facebook’s
 7 embedded code.
 8          29.    An    example     illustrates   the    point.   When   an    individual    navigates   to

 9 www.memorialcare.org and clicks on a particular physician’s profile—or any other webpage installed
10 with Facebook Pixel—the individual’s browser sends a GET request to Defendant’s server requesting
11 that server to load the particular webpage. Facebook Pixel, via cookies and embedded code, silently
12 instructs the user’s browser to duplicate and transmit the user’s communications with
13 www.memorialcare.org, sending the corresponding data to Facebook’s servers, alongside additional
14 information that transcribes the communication’s content and the individual’s identity.
15          30.    After collecting and intercepting this information, Facebook processes it, analyzes it,
16 and assimilates it into datasets like Core Audiences and Custom Audiences.
17 E.       How MemorialCare Discloses Class Members Protected Health Information and Assists
18          with Intercepting Communications

19          31.    Through the Facebook Pixel, Defendant shares its patients’ identities and online activity,
20 including information and search results related to their private medical treatment.
21          32.    For example, when a patient visits www.memorialcare.org to search for a doctor, they
22 may select the “Find a Provider” button, which takes them to the “Find a Provider” page.
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                           Figure 1. Image of www.memorialcare.org’s landing page.
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24                   Figure 2. Defendant directs patients to its “Find a Provider” webpage.
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26          33.     If a patients selects filters or enters keywords into the search bar on the “Find a Provider”
27 webpage, the filters and search terms are transmitted via the Facebook Pixel. Similarly, if a patient uses
28 the websites’ general search bar or chat, the terms and phrases the patient types are transmitted to

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 1 Facebook, even if they contain a patient’s treatment, procedures, medical conditions, and related

 2 queries.
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20                                                Figure 3 21
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27    On information and belief, the text users type into the search bar is transmitted and included in the
   web      address     and      URL        that     corresponds      with       the     search    results.
28 https://www.memorialcare.org/search?query=ovarian+cancer (last accessed Nov. 1, 2022).

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 1         34.     The “Find a Provider” page also allows patients to narrow search results based on

 2 distance from a particular location, “Hospital,” “Medical Group,” and the provider’s “Specialty.”
 3 Patients can also narrow their search results based on the provider’s gender and spoken languages.
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20                                              Figures 4 & 5
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22         35.     After taking any of these actions on the Find a Provider page, patients are subsequently
23 directed to the “Provider Search Results” page, and their selections or search parameters are
24 automatically transmitted.
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     Figure 6. Defendant’s “Find a Provider” webpage identifies doctors that fit the patient’s search criteria.
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14          36.     Once a patient chooses a doctor, all of the information that patient has submitted

15 is automatically sent directly to Facebook. On information and belief, the information transmitted to
16 Facebook includes: (1) the patient’s unique and persistent Facebook ID (c_user ID), (2) the fact that
17 the patient clicked on a specific provider’s profile page (Dr. Allison Diamant in the example below),
18 (3) the patient’s search parameters (demonstrating they specifically searched for a female doctor,
19 specialized in Internal Medicine, who is also recognized as an “LGBTQ Champion,”), and (4) the
20 patient’s location filter (demonstrating the patient sought a provider located in Santa Monica).
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                                                   Figure 7 22
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11          37.     Defendant’s website also includes a feature that allows patients to book appointments
12 through a particular doctor’s profile page. If a patient clicks on the “Schedule an Appointment” button,
13 this action is communicated and shared with Facebook. Facebook classifies this event as a
14 “SubscribedButtonClick,” which indicates that the patient clicked the specific button (in order to book
15 the appointment). Similarly, each doctor’s profile page includes a direct link that allows patient to call
16 the doctor's office, and, upon clicking the telephone number button, the patient’s click is shared with
17 Facebook.
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26   22
      The screenshot above serves as example and demonstrates the types of data transmitted during an
27 HTTP single communication session. This information is automatically sent from the patient’s device
   to Facebook, and it reveals the patients FID (c_user field) along with each search filter the patient
28 selected.

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 1          38.    MemorialCare’s website allows online patients to request an appointment with a doctor

 2 they have not been to before by completing an online form and selecting the “Make an Appointment”
 3 button. Upon doing this, Defendant shares the patient’s selection immediately with Facebook.
 4                                               Figure 8 23
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      The screenshot above serves as example and demonstrates the types of data transmitted during an
27 HTTP single communication session. This information is automatically sent from the patient’s device
   to Facebook, and it reveals the patients FID (c_user field) along with information indicating that the
28 user booked an appointment with a particular physician.

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25                                            Figure 10 24
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      Figures 9 and 10 are not specific to Defendant’s web page or to Plaintiff’s search queries but
   nonetheless demonstrate how and what is communicated via the Facebook Pixel. Importantly, this
28 (footnote continued)

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 1            39.      Each time Defendant sends this activity data, it also discloses a patient’s personally

 2 identifiable information.
 3            40.      A user who accesses Defendant’s website while logged into Facebook will transmit the
 4 c_user cookie to Facebook, which contains that user’s unencrypted Facebook ID. When accessing
 5 memorialcare.org, for example, Facebook receives even cookies, six of which are visible here:

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                                                     Figure 11
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12               41.     When a visitor’s browser has recently logged out of an account, Facebook compels

13    the visitor’s browser to send a smaller set of cookies.25

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                                                     Figure 12
18
19               42.     The fr cookie contains, at least, an encrypted Facebook ID and browser identifier.26
20    Facebook, at a minimum, uses the fr cookie to identify users.27 At each stage, Defendant also utilizes
21
22
23 occurred without Plaintiff’s knowledge or consent because patients’ communications with
   www.memorialcare.org are simultaneously duplicated and transmitted to Facebook, alongside their
24
   unique Facebook ID (c_user ID), during a single HTTP communication session.
25 25 Not pictured here and in the preceding image is the _fbp cookie, which is transmitted as a first-party
   cookie.
26
   26
      Facebook Ireland Ltd: Report of Re-Audit, DATA PROTECTION COMMISSIONER (Sept. 21, 2012),
27 http://www.europe-v-facebook.org/ODPC_Review.pdf.
     27
28        Cookies Policy, FACEBOOK, https://www.facebook.com/policy/cookies/ (last visited Nov. 7, 2022).

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 1    the _fbp cookie, which attaches to a browser as a first-party cookie, and which Facebook uses to

 2    identify a browser and a user.28
 3              43.   The fr cookie expires after 90 days unless the visitor’s browser logs back into Facebook
 4 or is otherwise used to visit the same website.29 If that happens, the time resets, and another 90 days
 5 begins to accrue.30

 6              44.   The Facebook Tracking Pixel uses both first and third-party cookies. A first-party
 7 cookie is “created by the website the user is visiting”—i.e., www.memorialcare.org.31 A third-party
 8 cookie is “created by a website with a domain name other than the one the user is currently visiting”—

 9 i.e., Facebook.32 The _fbp cookie is always transmitted as a first-party cookie. A duplicate _fbp cookie
10 is sometimes sent as a third-party cookie, depending on whether the browser has recently logged into
11 Facebook.
12              45.   Facebook, at a minimum, uses the fr, _fbp, and c_user cookies to link to Facebook IDs
13 and corresponding Facebook profiles, and, as shown in the above figures, Defendant sends these
14 identifiers alongside the event data.
15              46.   Plaintiff never consented, agreed, authorized, or otherwise permitted Defendant to
16 disclose her personally identifiable information and protected health information and assist with
17 intercepting her communications. Plaintiff was never provided with any written notice that Defendant
18 discloses its website users’ protected health information, nor was she provided any means of opting out
19 of such disclosures. Defendant nonetheless knowingly disclosed Plaintiff’s protected health
20 information to Facebook.
21
22
23
     28
          Id.
24   29
          Id.
25   30
          Confirmable through developer tools.
     31
26    First-party cookie, PC MAG, https://www.pcmag.com/encyclopedia/term/first-party-cookie (last
   visited Nov. 7, 2022). This is confirmable by using developer tools to inspect a website’s cookies and
27 track network activity.
     32
28        Id. This is also confirmable by tracking network activity.

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 1          47.     By law, Plaintiff is entitled to privacy in her protected health information and

 2 confidential communications. MemorialCare deprived Plaintiff of her privacy rights when it: (1)
 3 implemented a system that surreptitiously tracked, recorded, and disclosed Plaintiff’s and other online
 4 patients’ confidential communications, personally identifiable information, and protected health
 5 information; (2) disclosed patients’ protected information to Facebook—an unauthorized third-party

 6 eavesdropper; and (3) undertook this pattern of conduct without notifying Plaintiff and without
 7 obtaining her express written consent. Plaintiff did not discover until October of 2022 that Defendant
 8 disclosed her personally identifiable information and protected health information to Facebook and

 9 assisted Facebook with intercepting her communications.
10                                    CLASS ACTION ALLEGATIONS
11          48.     Class Definition: Pursuant to section 382 of the Code of Civil Procedure, Plaintiff
12 brings this action on behalf of herself and other similarly situated individuals (the “Class”), defined as
13 California citizens who, during the class period, had their personally identifiable information or
14 protected health information improperly disclosed to Facebook through the use of the Facebook Pixel
15 tracking tool as a result of or in connection with using www.memorialcare.org. Plaintiff reserves the
16 right to modify the class definitions or add sub-classes as necessary prior to filing a motion for class
17 certification.
18          49.     The “Class Period” is the time period beginning on the date established by the Court’s
19 determination of any applicable statute of limitations, after consideration of any tolling, concealment,
20 and accrual issues, and ending on the date of entry of judgement.
21          50.     Excluded from the Class is Defendant; any affiliate, parent, or subsidiary of Defendant;
22 any entity in which Defendant has a controlling interest; any officer or director of Defendant; any
23 successor or assign of Defendant; anyone employed by counsel in this action; any judge to whom this
24 case is assigned, his or her spouse and immediate family members; and members of the judge’s staff.
25          51.     Numerosity/Ascertainability. Members of the Class are so numerous that joinder of
26 all members would be unfeasible and not practicable. The exact number of Class members is unknown
27 to Plaintiff at this time; however, it is estimated that there are hundreds of thousands of individuals in
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 1 the Class. The identity of such membership is readily ascertainable from MemorialCare’s records and

 2 non-party Facebook’s records.
 3          52.    Typicality. Plaintiff’s claims are typical of the claims of the Class because Plaintiff used
 4 www.memorialcare.org and had her personally identifiable information and protected health
 5 information disclosed to Facebook without her express written authorization or knowledge. Plaintiff’s

 6 claims are based on the same legal theories as the claims of other Class members.
 7          53.    Adequacy. Plaintiff is fully prepared to take all necessary steps to represent fairly and
 8 adequately the interests of the Class members. Plaintiff’s interests are coincident with, and not

 9 antagonistic to, those of the members of the Class. Plaintiff is represented by attorneys with experience
10 in the prosecution of class action litigation generally and in the emerging field of digital privacy
11 litigation specifically. Plaintiff’s attorneys are committed to vigorously prosecuting this action on
12 behalf of the members of the Class.
13          54.    Common Questions of Law and Fact Predominate/Well Defined Community of
14 Interest. Questions of law and fact common to the members of the Class predominate over questions
15 that may affect only individual members of the Class because Defendant has acted on grounds generally
16 applicable to the Class. Such generally applicable conduct is inherent in Defendant’s wrongful conduct.
17 Questions of law and fact common to the Classes include:
18          (a)    Whether Defendant intentionally tapped the lines of internet communication between
19                 patients and their medical providers;
20          (b)    Whether    Defendant’s     website    surreptitiously   records   personally   identifiable
21                 information, protected health information, and related communications and
22                 subsequently, or simultaneously, discloses that information to Facebook;
23          (c)    Whether Facebook is a third-party eavesdropper;
24          (d)    Whether Defendant’s disclosures of personally identifiable information, protected
25                 health information, and related communications constitute an affirmative act of
26                 communication;
27
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 1          (e)    Whether Defendant’s conduct, which allowed Facebook—an unauthorized person—to

 2                 view Plaintiff’s and Class members’ personally identifiable information and protected
 3                 health information, resulted in a breach of confidentiality;
 4          (f)    Whether Defendant violated Plaintiff’s and Class members’ privacy rights by using
 5                 Facebook’s tracking pixel to record and communicate online patients’ FIDs alongside

 6                 their confidential medical communications;
 7          (g)    Whether Plaintiff and Class members are entitled to damages under CIPA, the CMIA,
 8                 or any other relevant statute;

 9          (h)    Whether Defendant’s actions violate Plaintiff’s and Class members’ privacy rights as
10                 provided by the California Constitution;
11          55.    Superiority. Class action treatment is a superior method for the fair and efficient
12 adjudication of the controversy. Such treatment will permit a large number of similarly situated persons
13 to prosecute their common claims in a single forum simultaneously, efficiently, and without the
14 unnecessary duplication of evidence, effort, or expense that numerous individual actions would
15 engender. The benefits of proceeding through the class mechanism, including providing injured persons
16 or entities a method for obtaining redress on claims that could not practicably be pursued individually,
17 substantially outweighs potential difficulties in management of this class action. Plaintiff knows of no
18 special difficulty to be encountered in litigating this action that would preclude its maintenance as a
19 class action.
20                                         CLAIMS FOR RELIEF
21                                                COUNT I
                            Violations of the California Invasion of Privacy Act,
22                                          Cal. Penal Code § 631
23          56.    Plaintiff repeats the allegations contained in the paragraphs above as if fully set forth
24 herein and bring this Count individually and on behalf of the members of the Class.
25          57.    The California Invasion of Privacy Act (“CIPA”) is codified at Cal. Penal Code §§ 630
26 to 638. The Act begins with its statement of purpose.
27                 The Legislature hereby declares that advances in science and technology have led
                   to the development of new devices and techniques for the purpose of
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 1                eavesdropping upon private communications and that the invasion of privacy
                  resulting from the continual and increasing use of such devices and techniques has
 2                created a serious threat to the free exercise of personal liberties and cannot be
                  tolerated in a free and civilized society.
 3
 4 Cal. Penal Code § 630.
 5          58.    California penal Code section 631(a) provides, in pertinent part:
 6                 Any person who, by means of any machine, instrument, or contrivance, or in any
                   other manner … willfully and without the consent of all parties to the
 7
                   communication, or in any unauthorized manner, reads, or attempts to read, or to
 8                 learn the contents or meaning of any message, report, or communication while
                   the same is in transit or passing over any wire, line, or cable, or is being sent from,
 9                 or received at any place within this state; or who uses, or attempts to use, in any
                   manner, or for any purpose, or to communicate in any way, any information so
10                 obtained, or who aids, agrees with, employs, or conspires with any person or
11                 persons to unlawfully do, or permit, or cause to be done any of the acts or things
                   mentioned above in this section, is punishable by a fine not exceeding two
12                 thousand five hundred dollars ($2,500).

13 Cal. Penal Code § 631(a) (emphasis added).
14          59.    A defendant must show it had the consent of all parties to a communication.
15          60.    At all relevant times, Defendant aided, agreed with, and conspired with Facebook to
16 track and intercept Plaintiff’s and Class Members’ internet communications while accessing
17 www.memorialcare.org. They intercepted these communications without authorization and consent
18 from Plaintiff and Class Members.
19          61.    Defendant, when aiding and assisting Facebook’s eavesdropping, intended to help
20 Facebook learn some meaning of the content in the URLs and the content the visitor requested.
21          62.    The following items constitute “machine[s], instrument[s], or contrivance[s]” under the
22 CIPA, and even if they do not, the Facebook Tracking Pixel falls under the broad catch-all category of
23 “any other manner”:
24          a.     The computer codes and programs Facebook used to track Plaintiff’s and the Class
25                 Members’ communications while they were navigating memorialcare.org;
26          b.     The Plaintiff’s and Class Member’s browsers;
27          c.     The Plaintiff’s and Class Members’ computing and mobile devices;
28          d.     Facebook’s web and ad servers;

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 1          e.      The web and ad-servers from which Facebook tracked and intercepted the Plaintiff’s

 2                  and Class Members’ communications while they were using a web browser to access or
 3                  navigate the memorialcare.org;
 4          f.      The computer codes and programs used by Facebook to effectuate its tracking and
 5                  interception of the Plaintiff’s and Class Members’ communications while they were

 6                  using a browser to visit Defendant’s website; and
 7          g.      The plan Facebook carried out to effectuate its tracking and interception of the Plaintiff’s
 8                  and Class Members’ communications while they were using a web browser or mobile

 9                  application to visit Defendant’s website.
10          63.     Defendant failed to disclose that it is used Facebook Pixel specifically to track and
11 automatically transmit its patients’ private and confidential communications to a third party, i.e.,
12 Facebook. Moreover, the Patient Privacy Notice states that sharing information about patients for
13 marketing or sale of health information requires patients' authorization (as it does for every disclosure
14 of health information not provided for under the Privacy Policy).
15          64.     The patient communication information that Defendant transmitted using Facebook
16 Pixel, such as doctor appointment booking information, constitutes protected health information.
17          65.     As demonstrated hereinabove, Defendant violated CIPA by aiding and permitting third
18 parties to receive its patients’ online communications through its website without their consent.
19          66.     By disclosing Plaintiff’s and the Class’s Private Health Information, Defendant violated
20 Plaintiff’s and Class Members’ statutorily protected right to privacy.
21          67.     As a result of the above violations, Defendant is liable to the Plaintiff and other Class
22 Members for actual damages related to their loss of privacy in an amount to be determined at trial or
23 alternatively for “liquidated damages not less than $2,500 per plaintiff.” Pursuant to CIPA Section
24 637.2, any person who has been injured by a violation of CIPA may recover $5,000 dollars per violation
25 or three times the amount of actual damages (the greater of these two options). Additionally, Section
26 637.2 specifically states that “[it] is not a necessary prerequisite to an action pursuant to this section
27 that the plaintiffs has suffered, or be threatened with, actual damages.”
28

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 1          68.     Under the statute, Defendant is also liable for reasonable attorney’s fees, and other

 2 litigation costs, injunctive and declaratory relief, and punitive damages in an amount to be determined
 3 by a jury, but sufficient to prevent the same or similar conduct by the Defendant in the future.
 4                                               COUNT II
                  Violations Of the California Confidentiality of Medical Information Act
 5                                         Cal. Civ. Code § 56.10
 6          69.     Under the California Confidentiality of Medical Information Act (“CMIA”) section
 7 56.10, providers of health care are prohibited from disclosing medical information relating to their
 8 patients, without a patient’s authorization. Medical information refers to “any individually identifiable

 9 information, in electronic or physical form, in possession of or derived from a provider of health care
10 . . . regarding a patient’s medical history, mental or physical condition, or treatment. ‘Individually
11 Identifiable’ means that the medical information includes or contains any element of personal
12 identifying information sufficient to allow identification of the individual . . . .” Cal. Civ. Code § 56.05.
13          70.     Plaintiff and Class Members are patients, and, as a health care provider, Defendant has
14 an ongoing obligation to comply with the CMIA’s requirements.
15          71.     As set forth hereinabove, Facebook ID is an identifier sufficient to allow identification
16 of an individual. Along with patients’ Facebook ID, MemorialCare discloses to Facebook several pieces
17 of information regarding its patients’ use of its website, which includes, but is not limited to: patient
18 medical conditions, medical concerns, treatment patients are seeking, doctor appointments, medical
19 specialty of the doctor(s) searched for by patients, and patient information regarding COVID-19.
20          72.     This patient information is derived from a provider of health care regarding patients’
21 medical treatment and physical condition. Accordingly, it constitutes medical information pursuant to
22 the CMIA.
23          73.     As demonstrated hereinabove, MemorialCare failed to obtain its patients’ authorization
24 for the disclosure of medical information and failed to disclose in its Privacy Policy and Privacy
25 Practices that it shares protected health information for marketing purposes.
26          74.     Pursuant to CMIA section 56.11, a valid authorization for disclosure of medical
27 information must be (1) “clearly separate from any other language present on the same page and is
28 executed by a signature which serves no other purpose than to execute the authorization” (2) signed

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 1 and dated by the patient or his representative (3) state the name and function of the third party that

 2 receives the information (4) state a specific date after which the authorization expires. Accordingly, the
 3 information set forth in MemorialCare’s Privacy Policy, Patient Privacy Notice, and Terms of Use do
 4 not qualify as a valid authorization.
 5          75.    Based on the above, MemorialCare violated the CMIA by disclosing its patients’

 6 medical information with Facebook along with the patients’ Facebook ID.
 7          76.    Under the CMIA, a patient may recover compensatory damages, punitive damages not
 8 to exceed $3,000 dollars and attorneys’ fees not to exceed $1,000, and the costs of litigation for any

 9 violating disclosure of medical information. Alternatively, a patient may recover nominal damages of
10 $1,000 for any negligent release of medical information.
11                                              COUNT III
                            Invasion of Privacy Under California’s Constitution
12
13          77.    Plaintiff repeats the allegations contained in the foregoing paragraphs as if fully set forth

14 herein and bring this claim individually and on behalf of the members of the proposed Class.
15          78.    Plaintiff and Class Members have an interest in: (1) precluding the dissemination and/or

16 misuse of their sensitive, confidential communications and protected health information; and (2)
17 making personal decisions and/or conducting personal activities without observation, intrusion or
18 interference, including, but not limited to, the right to visit and interact with various internet sites
19 without being subjected to wiretaps without Plaintiff’s and Class Members’ knowledge or consent.
20          79.    At all relevant times, by using Facebook’s tracking pixel to record and communicate

21 patients’ FIDs alongside their confidential medical communications, MemorialCare intentionally
22 invaded Plaintiff’s and Class Members’ privacy rights under the California Constitution.
23          80.    Plaintiff and Class Members had a reasonable expectation that their communications,

24 identity, health information, and other data would remain confidential and that MemorialCare would
25 not install wiretaps on www.memorialcare.org.
26          81.    Plaintiff and Class Members did not authorize MemorialCare to record and transmit

27 Plaintiff’s and Class Members’ private medical communications alongside their personally identifiable
28 health information.

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 1          82.    This invasion of privacy is serious in nature, scope, and impact because it relates to

 2 patients’ private medical communications. Moreover, it constitutes an egregious breach of the societal
 3 norms underlying the privacy right.
 4          83.    Accordingly, Plaintiff and Class Members seek all relief available for invasion of
 5 privacy claims under California’s Constitution.

 6                                          RELIEF REQUESTED
 7          84.    Plaintiff, on behalf of herself and the proposed Class, respectfully requests that the Court
 8 grant the following relief:

 9                 (a)     Certification of this action as a class action and appointment of Plaintiff and
10 Plaintiff’s counsel to represent the Class;
11                 (b)     A declaratory judgment that Defendant violated the California Invasion of
12 Privacy Act, Cal. Penal Code § 631(a);
13                 (c)     A declaratory judgment that Defendant violated the California Confidentiality
14 of Medical Information Act, Cal. Civ. Code §§ 56, et seq.;
15                 (d)     A declaratory judgment that Defendant violated Plaintiff’s and Class Members’
16 privacy rights as provided at common law and pursuant to the California Constitution;
17                 (e)     An order enjoining Defendant from engaging in the unlawful practices and
18 illegal acts described herein;
19                 (f)     For actual or statutory damages;
20                 (g)     For punitive damages, as warranted, in an amount to be determined at trial;
21                 (h)     For prejudgment interest on all amounts awarded;
22                 (i)     For injunctive relief as pleaded or as the Court may deem proper;
23                 (j)     For an order awarding Plaintiff and the Class their reasonable attorneys’ fees and
24 expenses and costs of suit pursuant to California Code of Civil Procedure section 1021.5 and/or other
25 applicable law; and
26                 (k)     Such other and further relief as the Court may deem appropriate.
27
28

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1                                     DEMAND FOR JURY TRIAL

2             85. Plaintiff, on behalf of herself and the proposed Class, demand a trial by jury for all of
3 the claims asserted in this Complaint so triable.
4
     Dated: December 12, 2022
5                                                Tina Wolfson (SBN 174806)
6                                                twolfson@ahdootwolfson.com
                                                 Robert Ahdoot (SBN 172098)
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28

                                                      - 27 -
                                 FIRST AMENDED CLASS ACTION COMPLAINT
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                                                                             Superior Court of California
1                                                                              County of Los Angeles

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                           SUPERIOR COURT OF THE STATE OF CALIFORNIA
 6
                                   FOR THE COUNTY OF LOS ANGELES
 7
 8   IN RE LOS ANGELES SUPERIOR COURT )                 FIRST AMENDED GENERAL ORDER
     - MANDATORY ELECTRONIC FILING )
 9   FOR CIVIL                        )
                                                    )
10                                                  )
11   ___________                                    )

12          On December 3, 2018, the Los Angeles County Superior Court mandated electronic filing of all
13   documents in Limited Civil cases by litigants represented by attorneys. On January 2, 2019, the Los
14   Angeles County Superior Court mandated electronic filing of all documents filed in Non-Complex
15   Unlimited Civil cases by litigants represented by attorneys. (California Rules of Court, rule 2.253(b).)
16   All electronically filed documents in Limited and Non-Complex Unlimited cases are subject to the
17   following:
18   1) DEFINITIONS
19      a) "Bookmark" A bookmark is a PDF document navigational tool that allows the reader to
20          quickly locate and navigate to a designated point of interest within a document.
21      b) "Efiling Portal" The official court website includes a webpage, referred to as the efiling
22          portal, that gives litigants access to the approved Electronic Filing Service Providers.
23      c) "Electronic Envelope" A transaction through the electronic service provider for submission
24          of documents to the Court for processing which may contain one or more PDF documents
25          attached.
26      d) "Electronic Filing" Electronic Filing (eFiling) is the electronic transmission to a Court of a
27          document in electronic form. (California Rules of Court, rule 2.250(b)(7).)
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1      e) "Electronic Filing Service Provider" An Electronic Filing Service Provider (EFSP) is a
2         person or entity that receives an electronic filing from a party for retransmission to the Court.
3         In the submission of filings, the EFSP does so on behalf of the electronic filer and not as an
4         agent of the Court. (California Rules of Court, rule 2.250(b)(8).)
5      f) "Electronic Signature" For purposes of these local rules and in conformity with Code of
6         Civil Procedure section 17, subdivision (b)(3), section 34, and section 1010.6, subdivision
7         (b)(2), Government Code section 68150, subdivision (g), and California Rules of Court, rule
8         2.257, the term "Electronic Signature" is generally defined as an electronic sound, symbol, or
 9        process attached to or logically associated with an electronic record and executed or adopted
10        by a person with the intent to sign the electronic record.
11     g) "Hyperlink" An electronic link providing direct access from one distinctively marked place
12        in a hypertext or hypermedia document to another in the same or different document.
13     h) "Portable Document Format" A digital document format that preserves all fonts,
14        formatting, colors and graphics of the original source document, regardless of the application
15        platform used.
16   2) MANDATORY ELECTRONIC FILING
17     a) Trial Court Records
18        Pursuant to Government Code section 68150, trial court records may be created, maintained,
19        and preserved in electronic format. Any document that the Court receives electronically must
20        be clerically processed and must satisfy all legal filing requirements in order to be filed as an
21        official court record (California Rules of Court, rules 2.100, et seq. and 2.253(b)(6)).
22     b) Represented Litigants
23        Pursuant to California Rules of Court, rule 2.253(b), represented litigants are required to
24        electronically file documents with the Court through an approved EFSP.
25     c) Public Notice
26        The Court has issued a Public Notice with effective dates the Court required parties to
27        electronically file documents through one or more approved EFSPs. Public Notices containing
28         effective dates and the list of EFSPs are available on the Court's website, at www.lacourt.org.


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1          d) Documents in Related Cases
2             Documents in related cases must be electronically filed in the eFiling portal for that case type if
3             electronic filing has been implemented in that case type, regardless of whether the case has
4             been related to a Civil case.
5    3) EXEMPT LITIGANTS
6          a) Pursuant to California Rules of Court, rule 2.253(b)(2), self-represented litigants are exempt
7             from mandatory electronic filing requirements.
8          b) Pursuant to Code of Civil Procedure section 1010.6, subdivision (d)(3) and California Rules of
9             Court, rule 2.253(b)(4), any party may make application to the Court requesting to be excused
10            from filing documents electronically and be permitted to file documents by conventional
11            means if the party shows undue hardship or significant prejudice.

12   4) EXEMPT FILINGS
13         a) The following documents shall not be filed electronically:
14            i)     Peremptory Challenges or Challenges for Cause of a Judicial Officer pursuant to Code of
15                   Civil Procedure sections 170.6 or 170.3;
16            ii)    Bonds/Undertaking documents;
17            iii)   Trial and Evidentiary Hearing Exhibits
18            iv)    Any ex parte application that is filed concurrently with a new complaint including those
19                   that will be handled by a Writs and Receivers department in the Mask courthouse; and
20            v)     Documents submitted conditionally under seal. The actual motion or application shall be
21                   electronically filed. A courtesy copy of the electronically filed motion or application to
22                   submit documents conditionally under seal must be provided with the documents
23                   submitted conditionally under seal.
24         b) Lodgments
25            Documents attached to a Notice of Lodgment shall be lodged and /or served conventionally in
26   paper form. The actual document entitled, "Notice of Lodgment," shall be filed electronically.
27   //
28   //


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1    5) ELECTRONIC FILING SYSTEM WORKING PROCEDURES
2      Electronic filing service providers must obtain and manage registration information for persons
3      and entities electronically filing with the court.
4    6) TECHNICAL REQUIREMENTS
5      a) Electronic documents must be electronically filed in PDF, text searchable format when
6          technologically feasible without impairment of the document's image.
7      b) The table of contents for any filing must be bookmarked.
8      c) Electronic documents, including but not limited to, declarations, proofs of service, and
9          exhibits, must be bookmarked within the document pursuant to California Rules of Court, rule
10         3.l 110(f)(4). Electronic bookmarks must include links to the first page of each bookmarked
11         item (e.g. exhibits, declarations, deposition excerpts) and with bookmark titles that identify the
12         bookedmarked item and briefly describe the item.
13     d) Attachments to primary documents must be bookmarked. Examples include, but are not
14         limited to, the following:
15         i)     Depositions;
16         ii)    Declarations;
17         iii)   Exhibits (including exhibits to declarations);
18         iv)    Transcripts (including excerpts within transcripts);
19         v)     Points and Authorities;
20         vi)    Citations; and
21         vii) Supporting Briefs.
22     e) Use of hyperlinks within documents (including attachments and exhibits) is strongly
23         encouraged.
24     f) Accompanying Documents
25         Each document acompanying a single pleading must be electronically filed as a separate
26         digital PDF document.
27     g) Multiple Documents
28         Multiple documents relating to one case can be uploaded in one envelope transaction.

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1      h) Writs and Abstracts
2         Writs and Abstracts must be submitted as a separate electronic envelope.
3      i) Sealed Documents
4         If and when a judicial officer orders documents to be filed under seal, those documents must be
5         filed electronically (unless exempted under paragraph 4); the burden of accurately designating
6         the documents as sealed at the time of electronic submission is the submitting party's
7         responsibility.
8      j) Redaction
 9        Pursuant to California Rules of Court, rule 1.201, it is the submitting party's responsibility to
10        redact confidential information (such as using initials for names of minors, using the last four
11        digits of a social security number, and using the year for date of birth) so that the information
12        shall not be publicly displayed.
13   7) ELECTRONIC FILING SCHEDULE
14     a) Filed Date
15        i) Any document received electronically by the court between 12:00 am and 11:59:59 pm
16            shall be deemed to have been effectively filed on that court day if accepted for filing. Any
17            document received electronically on a non-court day, is deemed to have been effectively
18            filed on the next court day if accepted.   (California Rules of Court, rule 2.253(b)(6); Code
19            Civ. Proc. § 1010.6(b)(3).)
20        ii) Notwithstanding any other provision of this order, if a digital document is not filed in due
21            course because of: (1) an interruption in service; (2) a transmission error that is not the
22            fault of the transmitter; or (3) a processing failure that occurs after receipt, the Court may
23            order, either on its own motion or by noticed motion submitted with a declaration for Court
24            consideration, that the document be deemed filed and/or that the document's filing date
25            conform to the attempted transmission date.
26   8) EX PARTE APPLICATIONS
27     a) Ex parte applications and all documents in support thereof must be electronically filed no later
28        than 10:00 a.m. the court day before· the ex parte hearing.


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1      b) Any written opposition to an ex parte application must be electronically filed by 8:30 a.m. the
2         day of the ex parte hearing. A printed courtesy copy of any opposition to an ex parte
3         application must be provided to the court the day of the ex parte hearing.
4    9) PRINTED COURTESY COPIES
5      a) For any filing electronically filed two or fewer days before the hearing, a courtesy copy must
6         be delivered to the courtroom by 4:30 p.m. the same business day the document is efiled.    If

7         the efiling is submitted after 4:30 p.m., the courtesy copy must be delivered to the courtroom
8         by 10:00 a.m. the next business day.
9      b) Regardless of the time of electronic filing, a printed courtesy copy (along with proof of
10        electronic submission) is required for the following documents:
11         i)   Any printed document required pursuant to a Standing or General Order;
12        ii)   Pleadings and motions (including attachments such as declarations and exhibits) of 26
13              pages or more;
14       iii)   Pleadings and motions that include points and authorities;
15       iv)    Demurrers;
16        v)    Anti-SLAPP filings, pursuant to Code of Civil Procedure section 425.16;
17        vi)   Motions for Summary Judgment/Adjudication; and
18       vii)   Motions to Compel Further Discovery.
19     c) Nothing in this General Order precludes a Judicial Officer from requesting a courtesy copy of
20        additional documents. Courtroom specific courtesy copy guidelines can be found at
21        www.lacourt.org on the Civil webpage under "Courtroom Information."
22   0) WAIYER OF FEES AND COSTS FOR ELECTRONICALLY FILED DOCUMENTS
23     a) Fees and costs associated with electronic filing must be waived for any litigant who has
24         received a fee waiver. (California Rules of Court, rules 2.253(b)(), 2.258(b), Code Civ. Proc.§
25         1010.6(d)(2).)
26     b) Fee waiver applications for waiver of court fees and costs pursuant to Code of Civil Procedure
27         section 1010.6, subdivision (b)(6), and California Rules of Court, rule 2.252(t), may be
28         electronically filed in any authorized action or proceeding.

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1    1) SIGNATURES ON ELECTRONIC FILING
2       For purposes of this General Order, all electronic filings must be in compliance with California
3       Rules of Court, rule 2.257. This General Order applies to documents filed within the Civil
4       Division of the Los Angeles County Superior Court.
5

6           This First Amended General Order supersedes any previous order related to electronic filing,
7    and is effective immediately, and is to remain in effect until otherwise ordered by the Civil
8    Supervising Judge and/or Presiding Judge.
9
10   DATED: May 3, 2019
11
                                                          Presiding Judge
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                       FIRST AMENDED GENERAL ORDER RE MANDATORY ELECTRONIC FILING FOR CIVIL
